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               @   . @    @ ee       @   . .
                                                                                                                       FILE D
 United States BankruptcyCourtforthe:
 CENTRALDISTRICT OF CALIFORNI
                            A                                                                                       JAN 23 2222
 Case number(i
             fknown)                                                 chapteryouarefil
                                                                                    ing under:
                                                                                                                cifn
                                                                                                                   k/lzxr /rlttîgm
                                                                     : Chapter7
                                                                     E1Chapter11
                                                                     Q Chapter12
                                                                     Q Chapter13                             Q Checki
                                                                                                                    fthi
                                                                                                                       sisan
                                                                                                                 amended filing



O fficialForm 101
Volunta               Petition forIndividuals Filing forBankruptcy                                                                     12/17
The bankruptcyforms useyou and Debtor1 to referto a debtorfiling alone. A marriedcouplemayfileabankruptcycasetogether- called ajoint
case-andinjointcases,theseformsuseyoutoaskforinformati        onfrom bothdebtors.Forexample,ifaform asks, $dDo you own a car,''the answer
would be yes ifeitherdebtorowns a car.W hen information is needed aboutthespouses separately,the form uses Debt
                                                                                                              or1and Debtor2 todistinguish
betweenthem.Injointcases,oneofthespousesmustreportinformati        onasDebtor1andtheotherasDebtor2. The sam e person mustbe Debtor1in
allofthe forms.
Beascompleteand accurate as possible.Iftwo married people are filing together, both are equally responsibleforsupplying correctinformation. lf
morespace is needed,attach a separatesheetto thisform . Onthetopofanyaddi    tionalpages,writeyournameandcasenumber(ifknown).Answer
every question.

 &.
           ldentify Yourself

                                 AboutDebtor1:                                          AboutDebtor2(SpouseOnlyinaJointCase):
      Yourfullnam e

      W ri
         te the namethati
                        s on     Afsaneh
      yourgovernment-issued      Firstname
      pi
       ctureidenti
                 fi
                  cation(for
      exam ple,yourdriver's
      Iicenseorpassport).        ui
                                  ddlename                                              Mi
                                                                                         ddle name
      Bring yourpicture          Doost
      identificationtoyour       L
      meeti
          ngwiththetrustee.       astnameandSuffi
                                                x(Sr.,Jr.,Il,111)                       LastnameandSuffi
                                                                                                       x(Sr.,Jr.,1l,111)


2. AIIothernames you have
   used in thelast8 years
   Include yourm arried or
   maiden names.


3. Onlythe Iast4 digitsof
   yourSocialSecurity
      numberorfederal            xxx-xx-1679
      Indi
         vidualTaxpayer
      Identification number
      (1TlN)




Ofhci
    alForm 101                            Voluntae PetitionforIndividuals Filing forBankruptcy                                      9a9e 1
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Debtor1 Afsaneh Doost                                                                        Case number(
                                                                                                        ifknown)



                                AboutDebtor1:                                            AboutDebtor2(SpouseOnlyinaJointCase):
4. Any business namesand
   Em ployerI
            dentifi
                  cation
     Numbers(E1N)youhave K IhavenotusedanybusinessnameorEINs.                            D IhavenotusedanybusinessnameorEINs.
     used in theIast8 years
     Include trade nam es and   Businessnamets)
     doingbusinessasnames                                                               Businessnamels)




5. W hereyou Iive                                                                       lfDebtor2 Iivesata differentaddress:

                                4567W hite OakPlace
                                Encino,CA 91316
                                Number,Street,City,State & ZIP Code                     Number, Street,City,State& ZIP Code
                                Los Angeles
                                County
                                Ifyourmailing address is differentfrom the one          IfDebtor2's mailing address is di
                                                                                                                        fferentfrom yours,fillit
                                above,fillitin here.Notethatthecoud willsend any        in here.Notethatthe coud wilsend any noticesto thi
                                                                                                                                         s
                                noti
                                   cestoyou atthismailing address.                      mailing address.


                                Number,P.O.Box,Street,City, State& ZIP Code             Number, P.O .Box,Street,City,State & ZlP Code




6. W hyyou are choosing         Check one:                                              Checkone:
   this districtto file for
    bankruptcy                  K    Overthel
                                            ast18Odaysbeforefil
                                                              ingthi
                                                                   speti
                                                                       ti
                                                                        on              Q    Overthel  ast180daysbeforefil ingthispetition, I
                                                                                ,
                                     Ihave I
                                           ived inthisdistrictI
                                                              ongerthan i
                                                                        n any                have Ii ved i
                                                                                                         nthisdi
                                                                                                               strictl
                                                                                                                     ongerthan inanyother
                                     otherdistrict.                                          district.
                                I
                                ZI Ihaveanotherreason.                                  Q    lhaveanotherreason.
                                   Explain.(See28U.S.C.j1408.)                               Expl
                                                                                                ain.(See28U.S.C.j1408.
                                                                                                                     )




Oii
  cialForm 101                           Voluntary PetitionforIndividuals Filing forBankruptcy                                          gage 2
                 Case 1:20-bk-10213-MT                    Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                          Desc
                                                          Main Document    Page 3 of 40
 Debtor1 Afsaneh Doost                                                                               Case number(ifknown)

 -
     ,        Tellthe CourtAboutYourBankruptcy Case
 7. The chap
    Bankrupttcer
              yCofthe      Check one. (Forabriefdescriptionofeach,seeNoticeRequi
                                                                               redby 11U.S.C.#342+)forIndividualsFilingforBankruptcy
                 odeyouare (Form 2010)).Also,gotothetopofpage1andchecktheappropriatebox.
    choosing tofile under
                                   K Chapter-
                                            1
                                   Q Chapter11
                                   Q chapter12
                                   D chapter13

8. How youwillpaythefee 1                 IwillpaytheentirefeewhenIfilemypetition. Please checkwith the clerk'soffice inyourIocalcourtformore details
                                          ab
                                          ordou
                                             ert
                                                how youmaypay.Typically, ifyouare paying the feeyoursel f, you maypaywithcash,cashi  er'scheck, orm oney
                                               .Ifyourattorneyissubmi
                                                                    ttingyourpaymentonyourbehal    f, youratt orney maypay witha creditcard orcheckwi  th
                                          a pre-printed addfess.
                                   D      Ineedtopaythefeeininstallments.I   fyouchoosethi  soption, sign and attachtheApplication forIndividualsto Pay
                                          TheFi lingFeeinInstall  ments(OfficialForm 103A).
                                   D      butisnotrequiredto,waivwa
                                          Ireque  st th atmy f
                                                             e e be   ived(Youmayrequestthisoptiononlyi    fyouarefili
                                                                                                                     ngforChapter7. Iaw,ajudgemay,
                                                                    e yourfee,and maydo soonl   yi            sIessthan 150% ofthe oBy
                                                                                                  fyourincome i                     ffi
                                                                                                                                      cialpovertyline that
                                          app
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                                              es  to y ourfamil
                                                              y size andyou  are un abl
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                                                                                                    n i
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                                                                                                           lment
                                                                                                               s). I
                                                                                                                   fyouchoose t
                                                                                                                              hisop ti
                                                                                                                                     on ,you mustf i
                                                                                                                                                   llout
                                            eAppl  icationtoHavetheChapter7Fi     lingFeeYa/v'ed(OëcialForm 103B)and5Ieitwithyourpetiti on.

9. Haveyoufiledfor                 Q No.
   bankruptcywithin the
   last8years?                     K Yes.
                                              Distrid CDCA-SFV                     W hen   9/11/19              Case number 1:19-bk-12284MT
                                              District CDCA-SV                     W hen   1/12/16              Case number 1:16-bk-10078
                                              District SeeAttachment               W hen                        Casenumber


10. Areanybankruptcy               . No
         casespendingorbeinj
         f
          iled byaspousewhoIs IZIYes.
         notfiling this casewith
         you,orbya business
         partner,orby an
         affiliate?
                                              Debtor                                                           Relationshipto you
                                              District                             W hen                       Case number, ifknown
                                              Debtor                                                           Relationshiptoycu            .

                                              Distrid                              W hen                       Case number, ifknown




                                               HasyourIandlordobtainedanevidionjudgmentagainstyou?
                                                         No.Go to Iine 12.
                                                         Yes.Fi
                                                              lloutInitialStatementAboutanEvictionJudgmentAgainstYou(Form 101A)andfI
                                                                                                                                   eitaspartof
                                                         thisbankruptcypetition.




Offici
     alForm 101                              Voluntary Petition forIndividuals Filing forBankruptcy                                             Pa9e3
                 Case 1:20-bk-10213-MT                 Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                       Desc
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 Debtor1 Afsaneh Doost                                                                              Case num ber(ifknown)

 --
              ReportAboutA ny BusinessesYou Own asa Sol
                                                      e Propri
                                                             etor
 12.Areyouasoleproqrietor
       ofanyfull-orpart-tlme      1 No.      G0 to Pad4.
       business?
                                  (
                                  :1yes.     NameandIocationofbusi
                                                                 ness
      A sole proprietorship i
                            sa
      businessycu operate as
      anindi vidual,and isnqta
      separate Iegalentitysuch
      asa corporation,
      partnership,orLLC.
      lfyouhavemore thanone                  Number,Street,Ci
                                                            ty,State & ZIP Code
      sole proprietorship,usea
      separate sheetand attach
      itto thi
             s peti
                  ti
                   on.                       Checktheappropriate box to describeyourbusi
                                                                                       ness:
                                             (Z1       HeaIthCareBusi ness(asdefi
                                                                                nedin11U.S.C.5 101(27A))
                                             Z1        SingleAssetRealEstate(asdefinedin11U.S.C.j101(51B))
                                             E:1       Stockbroker(asdefinedin11U.S.C,j101(53A))
                                             I
                                             ZI        Commodi tyBroker(asdefinedi
                                                                                 n11U. S.C.5101(6))
                                             (Zl       Noneoftheabove
13. Are you filing under  pfyouare l#r)g underChapter11, the cot
                                                               zrlmustknow whetheryou are asmallbusi   ness debtorso thatitcan setappropriate
    Chapt er11   ofthe    deadlines. I
                                     fyou indi
                                             catethatyouare asmal  lbusinessdebtor, youmustattachyourm ostrecentbalance sheet, statementof
    BankruptcyCodeand are o
                           perations,cash-fl
                                           ow statement, andfederalincome tax return orifanyofthese documentsdo notexist, follow the procedure
      #ouasmallbusiness          in11U.S.
                                        C.1116(1)(B).
      debtor?
                                 . No        Iam notslingunderChapter11.
      Foradefinitionofsmall           '
      bu
      U sinessdebtor,see 11      D No        Iamefi
                                                  ling underChapter11,butIam NOT a smallbusinessdebtoraccordi
                                                                                                            ng to the defini
                                                                                                                           ti
                                                                                                                            oninthe Bankruptcy
          S.C.j1O1(51D).
          .                           '      Cod   .



                                 D Yes.      lam fi
                                                  lingunderChapter11andIam asmallbusinessdebtoraccordingtothedefini
                                                                                                                  ti
                                                                                                                   oni
                                                                                                                     ntheBankruptcyCode.

*.    .       ReportifYou OwnorHave Any Hazardous Property orAny Property ThatNeeds Immediate Attention
14. Doyouownorhaveany . xo
      property thatposes oris         '
      allegedto poseathreat C1Yes.
      ofimminentand                        W hatisthe hazard?
      identifiabl
                e hazard to
      public health orsafety?
      Ordo you own any
      F ropertythatneeds
      lm m ediate attention?
                                           I
                                           fimmediateattentionis
                                           needed,whyis itneeded?
      Forexample,do youown
      perishablegoods,or
      Iivestockthatmustbe fed,            W here i
                                                 s the propedy?
      orabuilding thatneeds
      urgentrepai rs?
                                                                     Number,Street,City,State & Zip Code




OfficialForm 101                           Voluntary Petition forlndividuals Filing forBankruptcy
                                                                                                                                     92ge4
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Debtor1 Afsaneh Doost                                                                            Case number(ifknown)
*
    -        ExplainYourEfforts to Receive a Bri
                                               efing AboutCreditCounseling
                                    AboutDebtor1:                                            AboutDebtor2(SpouseOnlyinaJointCase);
15. Tellthe coud w hether           Youm ustcheckone:                                        You m ustcheckone:
        youhavereceiveda            . Ireceivedabri
                                                  efingfrom anapprovedcredit                 IZI Ireceivedabriefingfrom anapprovedcredit
        briefing aboutcredit           counseling agency wi  thinthe 180days before I            counseling agencywithin the 180 days before lfiled
        counseling.                    filed thi
                                               s bankruptcy petition,and Ireceived a             this bankruptcy petition,and Ireceived a certificate of
                                       certificate ofcompletion.                                 completion.
        The Iaw requiresthatyou
        receive a bri
                    efing about        Attach acopyofthe cedi fi
                                                               cate and the paym ent             Attacha copyofthe certi
                                                                                                                       ficate andthe paymentpl
                                                                                                                                             an, if
        creditcounseling before        pl an,ifany,thatyoudevelopedwith the agency.              any,thatyoudeveloped wi ththe agency.
        youfile forbankruptcy.
        Youmusttruthfullycheck Q Ireceived a briefingfrom an approved credit                 Q Ireceivedabri
                                                                                                           efingfrom anapprovedcredi
                                                                                                                                   t
        one ofthe fcllowing             counseling agency wi  thin the 180 days before I         counseling agency within the 180 days before Ifil
                                                                                                                                                 ed
        choi ces.Ifyou cannotdo         filed this bankruptcy petition,butIdo nothave            thi
                                                                                                   s bankruptcy peti
                                                                                                                   tion,butIdo nothavea certificate
        so,youare ncteli  gibleto       acertificate ofcompleti on.                              ofcompl etion.
        file.
                                      Wi thin 14 daysafteryoufil
                                                               e thisbankruptcy                  W ithin 14days afteryoufil
                                                                                                                          e thi
                                                                                                                              s bankruptcypetition, you
        lfyoufile anyway,thecourt     petiti
                                           on,youMUST filea copy ofthe certificate and           MUST filea copy ofthe certiscateand paymentplan, if
        can dismiss yourcase,you      paymentpl   an,i
                                                     fany.                                       any.
        willIosewhateverfiling fee
        you pai d,andyour          El IcertifythatIaskedforcredi   tcounseling               D lcertifythatIaskedforcreditcounselingservices
        creditorscanbegin             servicesfrom an approved agency,butwas                    from an approved agency,butwas unableto obtain
        coll
           ectionactiviti
                        esagain.      unableto obtain those services during the 7               those services during the7 days afterImade my
                                      days afterImade my request,and exigent                    request,and exigentcircumstances merita30-day
                                      circumstances merita 30-daytemporary waiver               temporarywaiverofthe requirem ent.
                                      ofthe requirement.
                                                                                                To askfora 30-daytemporarywai    verofthe requirement,
                                       To askfora 30-daytemporarywaiverofthe                    attacha separate sheetexplaining whateffortsyoumade
                                       requirement,attacha separate sheetexpl aining            toGbtainthebriefing,whyyouwere unabletocbtain i   t
                                       whateffodsyou madetoobtainthe bri  efing,why             beforeyoufiledforbankruptcy,andwhatexi   gent
                                       youwere unableto obtain itbeforeyoufiled for             circumstances required youto filethiscase.
                                       bankruptcy,and whatexigentcircumstances
                                       requiredyouto5Iethiscase.                                Yourcase may be dism i
                                                                                                                     ssed ifthe coud isdissatisfied
                                                                                                withyourreasonsfornotrecei vinga briefi
                                                                                                                                      ng beforeyou
                                       Yourcase maybe di     smissed ifthecoudis                fi
                                                                                                 led forbankruptcy.
                                       dissatisfi
                                                edwithyourreasonsfornotrecei      ving a
                                       briefing before youfi led forbankruptcy.                 Ifthe courtissatisfiedwith yourreasons,youm uststill
                                       Ifthe courtissati sfied wi thyourreasons,you m ust       receive a briefi
                                                                                                               ng within 30 daysafteryoufil
                                                                                                                                          e.You m ust
                                       stillreceivea briefingwi  thin 30 daysafteryoufile.      fi
                                                                                                 lea cedificatefrom the approved agency,along witha
                                       Youmustfil  e acedi  ficate from the approved            copyofthe paymentplanyoudeveloped,ifany.Ifyou do
                                       agency,alongwith acopyofthepaym entpl        anyou       notdoso,yourcase maybe di      smissed.
                                       developed,i  fany.I fyoudo notdoso,yourcase
                                       m aybedi   smissed.                                      Any extensionofthe 30-day deadline isgrantedonlyfor
                                                                                                cause and isIimited toa maximum of15days.
                                       Anyextension ofthe 3o-daydeadline isgranted
                                       onlyforcauseand islimitedto a maxi
                                                                        m um of15
                                       days.
                                    E1 lam notrequiredtorecei
                                                            veabriefingabout                 Q lam notrequiredtoreceiveabri
                                                                                                                          efingaboutcredi
                                                                                                                                        t
                                       credi
                                           tcounseling because of:                              counseling because of:
                                       D     lncapaci
                                                    ty.                                         I::1 lncapacity.
                                             Ihave a mentalilnessora mentaldefici
                                                                                ency                 Ihave amentalillnessora mentaldeficiencythat
                                             thatmakesme i ncapable ofreali
                                                                          zingor                     makes me incapabl e ofreal
                                                                                                                              izing ormaki
                                                                                                                                         ng rati
                                                                                                                                               onal
                                             making rati
                                                       onaldecisi
                                                                onsaboutfinances.                    deci
                                                                                                        sionsaboutfinances.

                                       I
                                       ZI Di
                                           sability.                                            IZI Disabili
                                                                                                           ty.
                                             My physicaldisabilitycauses me to be                    My physicaldisabilitycauses me to be unableto
                                             unableto parti
                                                          cipate ina bri
                                                                       efing in person,              padicipate i
                                                                                                                n a bri
                                                                                                                      efing inperson, by phone,or
                                             byphone,orthroughthe internet,evenafterI                throughthe internet, evenafterIreasonablytried to
                                             reasonablytri
                                                         ed to do so.                                doso.

                                       IZI Activeduty.                                          (71 Activeduty.
                                              1am currentl
                                                         y on adive militaryduty ina                 Iam currently on active mi
                                                                                                                              litaw duty ina mil
                                                                                                                                               itary
                                              mili
                                                 tarycombatzone.                                     combatzone.
                                       Ifyoubelieve you are notrequired to recei
                                                                               ve a             Ifyou beli
                                                                                                         eve youare notrequired to receive abri efing
                                       briefing aboutcredi
                                                         tcounsel ing,you mustfil ea            aboutcreditcounsel ing, youmustfilea moti  onforwai ver
                                       motionforwai  vercredi
                                                            tcounselingwiththe court.           ofcreditcounselingwith the court.




Oli
  cialForm 101                               Voluntary Petition forIndivi
                                                                        duals Filing forBankruptcy                                          page5
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Debtor1 Afsaneh Doost                                                                               Case number(ifknown)
+.      .    AnswerThese Questions forReporting Purposes
16. W hatkind ofdebe do            16a.      Are yourdebts primarilyconsumerdebts? Consumerdebtsare desned in 11U.S.C.j10148)as'i
                                                                                                                                ncurredbyan
    you have?                                i
                                             ndividualprimaril
                                                             yforapersonal
                                                                         ,famil
                                                                              y,orhousehol
                                                                                         d purpose.'
                                             I
                                             ZINo.GotoI
                                                      ine 16b.
                                             K Yes. Goto Iine 17.
                                   16b.      Areyourdeb? prim arily business debl? Businessdebtsare debtsthatyou incurredtoobtain
                                             moneyforabusinessorinvestmentorthroughthe operationofthebusinessorinvestment.
                                             Q No.GotoIine16c.
                                             Q Yes.GotoIine17.
                                             State the typeofdebtsyou owethatare notconsum erdebtsorbusinessdebts


17. Areyoufiling under             (Z)No. lam notfil
                                                   ingunderChapter7.GotoIi
                                                                         ne18.
    Chapter7:
            2

        Doyouestimatethat          . yes Iam fil
                                               ingunderChapter7.Doyouestimatethatafteranyexemptpropedyisexcludedandadmini
                                                                                                                        strati
                                                                                                                             veexpenses
        afterany exem pt                  ' are paidthatfundswil
                                                               lbe available to distributeto unsecured creditors?
        property is excluded and
        administrativeexpenses               . No
        are paid thatfunds w ill
        beavailablefor                       I
                                             ZIYes
        distributionto unsecured
        creditors?

18. How manyCreditorsdo            . j.4g                                     L 1,c00-5,000                         D 25,001-50,000
    you
    owe?estimatethatyou            I
                                   ZI50-99                                    (uj5cc1-1c,
                                                                                        cco                         IZI5o,coj-lco,cco
                                   I
                                   ZI100-199                                  Z 10,001-25,000                       I
                                                                                                                    ZIMorethan1O0,0O0
                                   Q 200-999
19. How muchdoyou                  I
                                   ZI$0-$50,c00                               1 $1coo,ocj-$1omillion                Q $500,000,001-$1billion
    es
    betwor
       imateyourassetsto           z $5cocj- $1cccoo                          u $jc
                                                                                  'cccoc1- $5c mjjlion              Z $1,
                                                                                                                        000,000,001-$10bill ion
          th?                      Q $100
                                        '        '                                 ' '
                                         ,001-$500,
                                                  000                         ZI$5c,c0c,
                                                                              I        001-$100mi  lli
                                                                                                     on             Z $10,000,000,001-$50billion
                                   E1$500,001-$1milli
                                                    on                        C2sjccjcccjccj-$5(m million           Q Morethan$50billion

20. How muchdoyou                   C1$0-$50,000                              . $jcccjccj.$jcmilion                 Q $500,000,001-$1bill
                                                                                                                                        ion
    estbima
    to   e?teyourIiabilities       (uj$5c'cc1. $1cc,coo                       z Sjc
                                                                                  'cccccl.$5c miljion               Q $1,000,000,001-$10billion
                                   ,...x                                           '   ,
                                   1-I$100,001-$500,000                       Q $5c,coo,co1-$jcomilli
                                                                                                    on              Z $10,000,000,001-$50billion
                                   Q $500,001-$1milion                        D $joo,ooo,oo1-$500milion             Z Morethan$5Qbillion

-
    .       Sign Below
Foryou                             Ihaveexaminedthi
                                                  speti
                                                      tion,and Idecl
                                                                   areunderpenal
                                                                               tyofperjurythattheinformati
                                                                                                         onprovi
                                                                                                               dedistrueandcorred.
                                   IfIhave chosen to5I
                                                     e underChapter7,Iam aware thatImay proceed, ifeligi
                                                                                                       ble,underChapter7,11,12,or13 oftitle 11,
                                   United StatesCode.Iunderstandthe reli
                                                                       efavailabl
                                                                                e undereachchapter, and lchoose to proceed underChapter7.
                                   I
                                   fnoattorneyrepresentsme and ldid notpayoragree to paysomeone who i s notan adorney to hel
                                                                                                                           p me fi
                                                                                                                                 lloutthis
                                   document,Ihave obtainedand read the noti
                                                                          ce requiredby 11 U.S.
                                                                                              C.j342(b).
                                   lrequestrel
                                             iefinaccordancewiththe chapterofti
                                                                              tl
                                                                               e 11,Uni
                                                                                      ted States Code, specified inthispetition.
                                   Iunderstand makinga false statement,conceal
                                                                             ing propedy, orobtai
                                                                                                ning moneyorpropedybyfraud in connecti
                                                                                                                                     onwith a
                                   bankru t      ecan resul
                                                          tinfines upto$250,000,ori
                                                                                  m prisonmentforupto 20 years,orb0th. 18U.S.C.jj152,1341,1519,
                                   a 571.        UA
                                                  >
                                   Afsaneh       st
                                   Si
                                    gnatureofDebtor1

                                   Executedon Januar
                                              MM/DDy/28
                                                     YJY2020
                                                        Y                                    Executedon     MM /DD /YYYY




Offi
   cialForm 101                               Voluntary Petition forIndividuals Filing forBankruptcy                                       Pa9e 6
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Debtor1 Afsaneh Doost                                                                          Case number(
                                                                                                          ifknown)


Foryou ifyouarefilingthis    The Iaw allowsyou,asanindividual, to representyourselfinbankruptcy coud,butyou should understand thatmany
bankruptcy withoutan         people find itextremely difficultto representthem selvessuccessfully. Because bankruptcy has Iong-term
attorney                     financialand legalconsequences,you arestrongly urged to hire a qualifiedattorney.
Ifyou arerepresented byan    To besuccessful,youmustcorrectlyfileand handl   e yourbankruptcycase. The rules areverytechnical, and a mi  stake or
attorney,you do notneed to   inaction mayasectyourrights.Forexample,yourcase maybe di      smissed because youdi  d notfilea required document,
file thi
       s page.               payafee on time,attenda meeting orhearing,orcooperate wi    ththe court, casetrustee,U.S.trustee,bankruptcy
                             admi nistrator,oraudi
                                                 tfirm ifyourcase isselected foraudit. I
                                                                                       fthathappens,youcould I  oseyourri ghttofil
                                                                                                                                 e anothercase,
                             oryoumayIose protecti  ons,i ncludi
                                                               ng thebenefitofthe automati cstay.
                             YoumustIi staIIyourpropertyanddebtsinthe schedul
                                                                            esthatyou arerequired tofil
                                                                                                      e wi ththecourt. Even ifyouplanto pay
                             a padi
                                  culardebtoutside ofyourbankruptcy,youmustIistthatdebtin yourschedules. Ifyoudo notIi stadebt,the debtmay
                             notbe discharged.IfyoudonotIistpropedyorproperlyclaim itasexempt, youm ay notbe able to keepthe property.The
                             judgecanal
                                      sodenyyouadi
                                                 schargeofaI
                                                           Iyourdebtsi
                                                                     fyoudosomethingdishonestinyourbankruptcycase,suchas
                             destroying orhidi
                                             ng propedy,fal
                                                          sifying records,orlying.lndividualbankruptcycasesare randomlyaudi
                                                                                                                          tedtodetermi
                                                                                                                                     ne i
                                                                                                                                        f
                             debtorshave been accurate,truthful,and complete.Bankruptcyfraud is aserious crime;you could be fined and
                             imprisoned.
                             Ifyoudecide to fil
                                              e withoutan attorney,the courtexpectsyoutofollow therules asifyou had hi red an attorney. The cotlrt
                             willnottreatyoudi fferentl
                                                      y becauseyouare fi ling foryourself.To be successful
                                                                                                         , you mustbe f
                                                                                                                      amiliarwiththe Uni ted
                             StatesBankruptcyCode,the FederalRules ofBankruptcy Procedure,andthe I       ocalrulesofthe courtinwhich yourcase i  s
                             fil
                               ed.You mustal  so be familiarwi
                                                             thanystate exemption Iawsthatappl   y.
                             Are youawarethatfi
                                              ling forbankruptcy i
                                                                 sa seriousacti
                                                                              onwith I
                                                                                     ong-term financi
                                                                                                    aland I
                                                                                                          egalconsequences?
                             I
                             ZINo
                             K Yes
                             Are youawarethatbankruptcyfraud isaseri
                                                                   ouscrime andthati
                                                                                   fyourbankruptcyform sare inaccurate orincomplete, you
                             could be fined ori
                                              m prisoned?
                             (Z1Nc
                             K Yes

                             Didyoupayoragree to paysomeone who i
                                                                s notanattorneyto helpyoufi
                                                                                          lloutyourbankruptcyforms?
                             Q No
                             K Yes          Name ofPerson Afsaneh Doost
                                            AttachBankruptcyPetitionPreparer'
                                                                            sNotice,Declarati
                                                                                            on,andSignature(Offi
                                                                                                               cialForm 119).
                             By si
                                 gni ng here,Iacknowl
                                                    edgethatIunderstand the risksinvolved infil
                                                                                              ing wi
                                                                                                   thoutanattorney. Ihave readand understood
                             thisnotice,and Iam aware thatfili
                                                             nga bankruptcycase wi
                                                                                 thoutan attorney maycause meto Iose myri  ghts orproperty i
                                                                                                                                           fIdo
                             not       y andlethe ca .
                             Afs ne           -                                         Signature ofDebtor2
                             Signature ofDebtor1

                             Date January 28,2020                                       Date
                                    M M /DD /YYYY                                              MM /DD /YYYY
                             Contactphone                                               Contactphone
                             Cellphone                                                  Cellphone
                             Emailaddress                                               Emailaddress




Offi
   cialForm 1O1                        VoluntaryPetitionforIndi
                                                              vidualsFilingforBankruptcy                                                   Page 8
              Case 1:20-bk-10213-MT            Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                             Desc
                                               Main Document    Page 8 of 40
    Debtor1 Afsaneh Doost                                                                 Case number(i
                                                                                                      fknown)

                @   . #   @ #*   @   *


f
    Debtor1          Afsaneh Doost
                     FlrstName           Mlddl
                                             e Name              LastName
    Debtor2
t
(Spousei
1
       fhlng)
United StatesBankruptcyCourtforthe: CENTRAL DISTRICT OF CALIFORNI
                                                                A
Case number
(1fknown)
                                                                                                           D Checki
                                                                                                                  fthi
                                                                                                                     sisan
                                                                                                                am ended fil
                                                                                                                           ing


                                            FO ltM 101.V O LUN TAR Y PETITIO N
                                          Prior B anltruptcy Cases Filed Attachm ent

Elistrict                                                   CaseN um ber                      Date Filed
CDCA-SFV                                                    1:19-bk-12284MT                    9/11/19
CDCA-SV                                                     1:16-bk-10078                      1/12/16
CDCA-SFV                                                    1:11-bk-22838                     11/03/11




Offici
     alForm 101                      Voluntary Petition forIndividuals Filing forBankruptcy                                      X ge 9
        Case 1:20-bk-10213-MT                 Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                                           Desc
                                              Main Document    Page 9 of 40


                           STATEM ENT O F RELATED CA SES
                        INFO RM ATIO N REQ UIRED BY LBR 1015-2
         UNITED STATES BANKRUPTCY CO URT,CENTRAL DISTRICT O F CA LIFO RNIA
1. A peti
        tion underthe Bankruptcy Actof1898 orthe Bankruptcy Reform Actof1978 has previously been filed by or
   against the debtor, his/her spouse,his or her currentor former dom estic padner, an affiliate ofthe debtor,any
   copartnership orjointventure ofwhich debtoris orformerly was a generalorIimited padner,ormember,orany
   corporationofwhich the debtoris a director,officer,orperson incontrol,asfollows:(Setforththe compl
                                                                                                    ete number
   and title of each such of prior proceeding,date filed,nature thereof,the Bankruptcy Judge and coud to whom
   assi
      gned!whetherstillpending and,ifnot,the disposition thereof.Ifnone,so indicate.Also, Iistany realpropedy
   included InScheduleA/B thatwasfiledwi
                                       thanysuchpriorproceedingtsl.)
Please see pacerprintoutattached

2. (Ifpeti
         tioneris a padnership orjointventure)A petition underthe BankruptcyActof1898 orthe Bankruptcy Reform
   Actof1978 has previously been fil
                                   ed by oragainstthe debtororan affiliate ofthe debtor, ora generalpartnerin the
   debtor,a rel
              ative ofthe generalpadner,generalpartnerof,orperson in controlofthe debtor, padnership in which the
   debtorisa generalpadner,generalpadnerofthe debtor,orperson incontrolofthe debtorasfollows:(Setfodh the
   com plete numberand ti
                        tle ofeach such pri
                                          orproceeding,date filed,nature ofthe proceeding,the Bankruptcy Judge
   and courtto whom assigned,whetherstillpending and,ifnot,the disposition thereof.Ifnone,so indicate. Also,Iist
   any realproperty includedin ScheduleA/Bthatwasfil
                                                   edwithanysuchpriorproceedingtsl.)
NONE

   (Ifpetitioneri
                s acorporation)A petitionunderthe BankruptcyActof1898 orthe Bankruptcy Reform Actof1978 has
   previ
       ously been filed by oragainstthe debtor,orany ofi ts affiliates orsubsidiaries,a directorofthe debtor,an officer
   ofthe debtor,a person in controlofthe debtor,a padnership in which the debtoris generalpadner,a generalpadner
   ofthe debtor,a relati
                       ve ofthe generalpartner,director,o#icer,orperson in controlofthe debtor,orany persons,firms
   orcorporations owning 20% ormore ofits voting stockasfollows:(Setforth the complete numberand title ofeach
   such priorproceeding,date filed,nature ofproceeding,the Bankruptcy Judge and coud to whom assigned,whether
   stillpending,and i
                    fnot,the disposition thereof.Ifnone,so indi
                                                              cate.Also,Iistany realpropedy included in Schedule
   A/B thatwasfiledwithanysuchpri
                                orproceedingtsl.)
NO NE

   (Ifpetitionerisan indi
                        vidual)A peti
                                    tionunderthe Bankruptcy Reform Actof1978,includingamendmentsthereof,has
   beenfiledbyoragainstthedebtorwithinthe Iast180days:(Setforththecomplete numberandtitle ofeachsuch prior
   proceeding,date filed, nature of proceeding,the Bankruptcy Judge and coud to whom assigned,whether still
   pending,and i
               fnot,the disposition thereof.Ifnone,so indi
                                                         cate.Also,Ii
                                                                    stany realpropedy included in Schedule A/B
   thatwasfiledwithanysuchpriorproceedingtsl.)
NO NE

Ideclare,underpenaltyofperjury,thattheforegoingistrue andcorrect.
Executed at Encino                                             California.                  yz.
                                                                                              l-NA       .,
                                                                                                          .
                                                                                                          ;
                                                                                                          '
                                                           ,
                                                                                         Afsaneh Dooèt
Date:        January28,2020                                                              Signature ofDebtor1


                                                                                         Signature ofDebtor2




              Thisform is mandatory.lthasbeen approved foruse inthe United StatesBankruptcy Courtforthe CentralDistrictofCalifornia.
oct
  oberzoln                                                                         F IOIS-Z.I.STM T.R ELA TED.CA SES
              Case 1:20-bk-10213-MT                              Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                                                       Desc
                                                                 Main Document    Page 10 of 40

 Debtor1                    Afsaneh Doost
                            FlrstName                           MiddleName                          LastName
 Debtor2
 (Spouse1f.flltng)
 Uni
   tedStatesBankruptcyCoud forthe:                       CENTRALDISTRICT O F CALIFORNIA

Case number
(ifknown)                                                                                                                                                     IZI Checkifthisisan
                                                                                                                                                                 amended filing


OfficialForm 106Sum
Sum m ary ofYourAssets and Liabilities and Certain StatisticalInform ation                                     12/15
Be ascompleteandaccurateaspossibele
information.FilloutalIofyourschedul
                                    .lftwomarriedpeoplearefilingtogether,bothareequall  yresjonsibleforsupplyingcorrect
                                   sfirst;thencompletethe information onthis form.lfyouarefillng amended schedules afteryou file
youroriginalforms,you mustfillouta new Summary and checkthe box atthe top ofthis page.
 *-
               SummarizeYourAssets

                                                                                                                                                                Yourassel
                                                                                                                                                                Value ofwhatyouown
         i;cheduIe/$/E!:F'rllp)erty(()f5cialForrn106/$/E!)
         1a.(1opy I
                  ine 55,lrotalreaIestate,frorn 69cheduI
                                                       eN B................................................................................................      $        1,550,000.00

                                                                                                                                                                 $           13,093.00
         1c.CcpyIine63,TotalofaIIpropedyon ScheduleN B...............................................................................................           $         1,563,093.00
 *-            Sum marizeYourLiabilities

                                                                                                                                                                YourIiabi
                                                                                                                                                                        litie:
                                                                                                                                                                Amountyou owe
         scheduleD.
                  'creditorswhoHaveclaimssecuredbyProperty(officialForm 106D)
         2a.copythetotalyou li
                             sted i
                                  n ColumnA,Amountofclai
                                                       m ,atthebottom ofthe lastpage ofPad 1ofSchedul
                                                                                                    e D...                                                      $         1,493,000.00
         Schedule8.
                  /8.
                    'Credit
                          orskv/?0HaveUnsecuredClai
                                                  ms(OfficialForm 106E/F)
         3a.Copy thetotalcl
                          aimsfrom Pad1(pri
                                          ori
                                            tyunsecuredclaims)from li
                                                                    ne6eofScheduleE/F.................................                                          $                   0.00

         3b.Copy thetotalcl
                          aimsfrom Part2(nonpri
                                              ori
                                                tyunsecuredclai
                                                              ms)from Iine6jofScheduleE/F............................                                           $            66,683.52

                                                                                                                                 YourtotalIiabiliti
                                                                                                                                                  es $                 1,559,683.52

 -
     .         summari
                     ze YourIncome and Expenses
         schedule1.vourIncome(officialForm 1061)
         copyyourcombined m onthlyincome from Iine 12 ofschedule /....................................,...........................................              $            12,380.00

         Schedul
               eJ.
                 'YourExpenses(Ofici
                                   alForm 106J)
         Copyyourmonthlyexpensesfrom Ii
                                      ne 22cofScheduleJ................................................,............,,,..........                               $            10,587.00
 *.
         z     AnswerThese Questions forAdministrativeand StatisticalRecords
         Are you filingforbankruptcyunderChapters7,11,or13?
         Q No.Youhavenothi
                         ngtorepodonthi
                                      spadoftheform.Checkthi
                                                           sboxandsubmi
                                                                      tthisform tothecourtwithyourotherschedules.
         K     Yes
         W hatkind ofdebtdo you have?

         K Yourdebtsareprimarilyconsumerdebts.Consumerdebtsarethose'i
                                                                    ncurredbyani
                                                                               ndivi
                                                                                   dualprimarilyforapersonal,famil
                                                                                                                 y,or
               householdpurpose.
                               ''11U.S.C.j101(8).FiloutIi
                                                        nes8-% forstati
                                                                      sti
                                                                        calpurposes.28U.S.C.j159.
         D Yourdeb/ arenotprimarilyconsumerdebts.Youhavenothingtorepodonthi
                                                                          spadoftheform.Checkthisboxandsubmi
                                                                                                           tthisform to
            the coudwithyourotherschedules.
 OfficialForm 106Sum              Sum maryofYourAssel and Liabilities and Certain Stati
                                                                                      sticalInformation                                                              page 1of2
SoftwareCopyrlght(c)1996-2019BestCase LLC -www.bestcase.com                                                                                                          BestCaseBankruptcy
           Case 1:20-bk-10213-MT                      Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                     Desc
                                                      Main Document    Page 11 of 40
 Debtor1 Afsaneh Doost                                                    Casenumber(ifknown)
       From the statementofYourcurrentMonthly lncom e:copy yourtotalcurrentmonthlyincome from Offi
                                                                                                 cialForm
       122A-1Li
              ne 11,. OR, Form 1228 Line 11.
                                           ,OR,Form 122C-1 Line 14.                                                  $        5'980.00

      copy t:efollowing specialcategori
                                      es ofclaimsfrom Part4,Iine 6 ofSchedule & F:

                                                                                               Tol l'claim
      From Part4onSchedule& & copythefollowing:
      9a.Domesticsuppodobli
                          gations(CopyI
                                      ine6a.)                                                  $              0.00
      9b.Taxesandcertai
                      notherdebtsyouowethegovernment.(CopyIi
                                                           ne6b.)                              $              0.00
      9c.Claimsfordeathorpersonalinjurywhil
                                          eyouwereintoxicated.(CopyIine6c.)                     $             0.00
      9d.StudentIoans.(CopyIine6f.)                                                            $              0.00
      9e.Obli
            gationsarising outofa separationagreem entordivorcethatyotldi
                                                                        d notrepod as
          pri
            ori
              tyclai
                   ms.(Copyline6g.)                                                            $              0.00
      9f.Debtstopensionorprofit-sharingpl
                                        ans,andothersimil
                                                        ardebts.(CopyIine6h.
                                                                           )                   +$             0.00

      9g.Total.Add Iines9a through9f.                                                      $                 0.00




Offi
   cialForm 106Sum                         Summary ofYourAssets and Li
                                                                     abilities and Certain Stati
                                                                                               sticalInformation                page 2of2
SoftwareCopyrlght(c)1996-2019BestCase,LLC -www bestcasecom                                                                BestCaseBankruptcy
                  Case 1:20-bk-10213-MT                                 Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                                                         Desc
                                                                        Main Document    Page 12 of 40
                       #     w #      @ @*             @      . *. @                   :

 Debtor1                       Afsaneh Doost
                               FlrstName                              M iddleName                            LastName
Debtor2
(Spouse,lfflling)
 Uni
   ted StatesBankruptcyCoud forthe: CENTRAL DISTRICT OF CALIFORNI
                                                                A

Casenumber                                                                                                                                                                 IZI checki
                                                                                                                                                                                    fthisisan
                                                                                                                                                                                am ended fi
                                                                                                                                                                                          ling


O#icialForm 106 B
     chedule /B :Prope y                                                                                                                                                       12/1s
ln each category,separately Iistand describe items.Listan assetonlyonce. Ifan assetfits in more than onecategory,Iistthe assetin thecategory where you
thinkitfitsbest.Beascompleteandaccurateaspossible.lftwo marriedpeoplearefilingtogether,bothareequallyresponsibleforsupplyingcorrect
information.I
            fmorespacei
                      s needed,attachaseparatesheettothisform.Onthetopofanyadditi
                                                                                onalpages,wri
                                                                                            teyournameand casenumber(i
                                                                                                                     fknown).
Answereveryquestion.
 *
     .        Describe Each Residence,Building,Land,orOtherRealEstate You Own orHave an InterestIn
1.Do you own orhaveany legalorequitable interestin any residence,building,Iand,orsimilarpropedy?
     EINo.Gotopart2
     K ves w hereisthepropedy?
              .




                                                                                 W hatis the propedy? checkaIIthatapply
          4567 W hite Oak PLC                                                       1 Single-famil
                                                                                                 yhome                                              Donotdeductsecuredclai
                                                                                                                                                                         msorexempti
                                                                                                                                                                                   ons.Put
          Streetaddress.ifavailable orotherdescriptlon
                                                                                    Z Duplexormulti-uni
                                                                                                      tbuil
                                                                                                          dinn*'                                    the amountofanysecured claims on Schedule D.
                                                                                                                                                    Credi
                                                                                                                                                        torsW/?
                                                                                                                                                              ()HaveQai msSecuredbyPropetly   .
                                                                                                                                                                                               '
                                                                                    E1 Condominium orcooperative
                                                                                    D Manufacturedormobi  l
                                                                                                          ehome                                     Currentvalue ofthe    Currentvalue ofthe
          Encino                            CA        91316-0000                    Q Land                                                          entireproperty?       portionyouown?
          Clty                              State           ZlP Code                I
                                                                                    ZI Investmentproperty                                                $1,550,000.00          $1,550,000.00
                                                                                    I
                                                                                    ZI Timeshare
                                                                                    Q Other                                                         Describethenatureofyourownershipi nterest
                                                                                                                                                    (suchasfeesimple,tenancybytheentireties,or
                                                                                 who hasaninterestintheproperty?checkone                            aIifeestate),ifknown.
                                                                                   K Debtor1onl y                                                   Fee sim ple
          Los Angeles                                                             D Debt or2onl y
          County                                                                  IZI Debt
                                                                                         or1andDebtor2onl  y
                                                                                  Z                                                                 D checkifthisiscommuni
                                                                                                                                                                         typroperty
                                                                                       Atleastoneofthe debtorsand another            (seeInstructions)
                                                                                 Otherinformation you wish to add aboutthis item,such as Iocal
                                                                                 propedy identification number:




2. Add the dollarvalue ofthe portion you own foraIIofyourentries from Part1,including any entriesfor
         r)lj(1(,6$y()tl9111h/tr1,ttll().1(,(1fllrF>11rt1.hliri
                                                              tlhtk111trttlrklk)thr.1(,re...........................................................................az>       $1,550,000.00

 *.           Describe YourVehicles

Do youown,Iease,orhave Iegalorequitabl  e interestinany vehicl
                                                             es,whethertheyare registered ornot? Incl ude anyvehi
                                                                                                                clesyouownthat
someoneelse dri
              ves.Ifyou I
                        ease avehicl
                                   e,alsoreportiton Schedule G:ExecutoryContracts and Unexpired Leases.
3.Cars,vans,trucks,tractors,sportutilityvehicles,motorcycles

     K No
     EZIYes


OfficialForm 1O6A/B                                                                    Schedul
                                                                                             eA/B:Property                                                                                  page 1
SoftwareCopyright(c)1996-2019BestCase LLC -www.bestcaseacom                                                                                                                       BestCaseBankruptcy
             Case 1:20-bk-10213-MT                                   Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                                                          Desc
                                                                     Main Document    Page 13 of 40
 Debtor1          Afsaneh Doost
4.W atercraft,aircraft!m otorhomes,ATVSand otherrecreationalvehicl     es,othervehicles,and accessories
  Examples:Boats,trallers,motors,personalwatercraft,fishing vessels,snowmobiles,motorcycleaccessories

   K No
   (:1Yes


 5 Add the dollarvalueofthe portion you own foraIIofyourentries from Part2,including anyentriesfor
   .r
    )1!()(,E;y()tl@11th/fh1jttll(;01()tlftlrF'11rt2.11:rittht81lltrltlrrlk)i,r.1(,re................-............................................................zz).                $0.00
 *.
            DescribeYourPersonaland Household Items
 Do you own orhaveany Iegalorequitable interestin any ofthe following items?                                                                                            Currentvalue ofthe
                                                                                                                                                                        portion you ow n?
                                                                                                                                                                        Do notdeductsecured
                                                                                                                                                                        clai
                                                                                                                                                                           m sorexempti ons.
6.Household goods andfurnishings
      Exampl
           es:Majorappli
                       ances,furni
                                 ture,I
                                      inens,china,kitchenware
      I
      ZINo
      K Yes Describe

                                         PPCSOnaIfurnitureand household oods                                                                                                       $3,750.00

                                         personalhousehold oods,electronicsand otlw ra Iiances                                                                                     $9,25c.00

7.Electronics
  Examples:Tel evisi
                   ons and radi
                              os;audi
                                    o,Mideo,stereo,anddigitalequipment'
                                                                      ,computers,printers,scanners;musi
                                                                                                      ccoll
                                                                                                          ecti
                                                                                                             ons'
                                                                                                                , el
                                                                                                                   ectronicdevices
             i
             ncludi
                  ng cel
                       lphones,cam eras,media players,games
      K No
      E:IYes,Describe.....
8. Collectibles ofvalue
      Examples.Antiquesandfi
                           gurines'
                                  ,painti
                                        ngs,pri
                                              nts,orotherartwork;books,pictures,orotherartobjects'
                                                                                                 ,stamp,coin,orbaseballcardcoll
                                                                                                                              ections,
                                                                                                                                     '
                    othercoll
                            edions,memorabil
                                           ia,colledi
                                                    bles
      K No
      I
      ZIYes Describe.....
9.Equipm entforsports and hobbies
  Examples:Spods,photographi  c,exercise,and otherhobbyequipment'
                                                                ,bi
                                                                  cycles,pooltables, gol
                                                                                       fclubs,skis;canoesand kayaks,
                                                                                                                   'carpentrytools;
            m usicalinstruments
      K No
      (
      ZIYes Describe
1O. Firearm s
       Examples..Pistols,rifles,shotguns,amm unition,and relatedequipm ent
      K No
      Q Yes.Descri
                 be.....
11.Clothes
   Examples:Everydaycl
                     othes,furs,I
                                eathercoats,desi
                                               gnerwear,shoes,accessori
                                                                      es
      K No
      IZIYes.Describe.....
12.Jewelry
        Examples:Everydayjewel
                             ry,costumejewelry,engagementrings,weddingrings,heirl
                                                                                oom jewelry,watches,gems,gold,sil
                                                                                                                ver
      K No
      (Z1Yes Describe....
13. Non-farm anim als
    Exampl es.Dogs,cats,bi
                         rds,horses
      K sc
      D Yes Describe

OfhcialForm 106A/B                                                                ScheduleA/B:Propedy                                                                                    lhDoe2
SoftwareCopyrlght(c)1996-2019BestCase,LLC -www.bestcase.com                                                                                                                    BestCaseBankruptcy
                Case 1:20-bk-10213-MT                                         Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                                Desc
                                                                              Main Document    Page 14 of 40
 Debtor1             Afsaneh Doost                                                                                               Casenumber(ifknown)
14.Any otherpersonaland household i
                                  tems you did notalready Ii
                                                           st,including any heal
                                                                               th aidsyou did notIist
      K No
      E1Yes.Gi
             vespecificinformation.....

 15. Add the dollarvalueofaIIofyourentriesfrom Part3,including any entriesforpagesyou have ahached
                                                                                                                                                              $13,000.00

 *.      -    Describe YourFinancialAssets
 Do you own orhaveany Iegalorequitable interestin any ofthefollowing?                                                                                  Currentvalue ofthe
                                                                                                                                                       portion you ow n?
                                                                                                                                                       Do notdeductsecured
                                                                                                                                                       claim sorexemptions.
16.Cash
    Exampl
         es:Moneyyou have inyourwallet,inyourhome,in asafedepositbox,and on hand whenyou5Ie yourpeti
                                                                                                   tion

      E:Ihri)S................................................................................................................
17.Deposits ofm oney
   Examples:Checki    ng,savings,orothersnanci alaccounts'
                                                         ,certificatesofdeposi  t'
                                                                                 ,sharesin credituni
                                                                                                   ons,brokerage houses,and othersimil
                                                                                                                                     ar
              instituti
                      ons.Ifyou have multipleaccountswith the same institution,Iisteach.
      E:1No
      K Yes                                                                                          lostituti
                                                                                                             on name:

                                                                                                    Checking accountWells Fargo Bank                                  $93.00

18. Bonds,mutualfunds,orpubliclytraded stocks
    Examples:Bondfunds,investmentaccountswithbrokerage firms,moneymarketaccounts
      K No
      D Yes..................                              I
                                                           nsti
                                                              tuti
                                                                 onori
                                                                     ssuername:
19.Non-publicl
             y traded stock and interests in incorporated and unincorporated businesses,including an interestinan LLC,padnership,and
       jointventure
      * No
      Q Yes.Gi vespecificinformationaboutthem...................
                                                     Name ofentity:                                                              OA ofownershi
                                                                                                                                             p:
2O. Governmentand corporate bonds and othernegotiableand non-negotiabl     e instrumenl
    Negotiableinstrumentsinclude personalchecks,cashiers'checks,promi ssorynotes,and m oneyorders.
    Non-negotiableinstruments are those you cannottransferto someone bysi
                                                                        gning ordeliveringthem.
      K No
      Q Yes.Gi
             vespeci
                   fi
                    cinformationaboutthem
                                                     Issuernam e:

21. Retirem entorpension accounts
       Examples:InterestsinIRA,ERISA,Keogh,401(k),403(b),thriftsavingsaccounts,orotherpensionorprofi
                                                                                                   t-sharingpl
                                                                                                             ans
      K No
      I
      ZIYes.Listeachaccountseparately.
                                                Type ofaccount:                                     Insti
                                                                                                        tutionnam e:
22.Security deposits and prepayments
    Yourshare ofaIIunused deposi
                               tsyouhavemade sothatyou maycontinueservi
                                                                      ce orusefrom a company
      Exampl
           es:Agreementswi
                         thlandl
                               ords,prepai
                                         drent,publicutil
                                                        ities(electri
                                                                    c,gas,water),telecommunicationscompani
                                                                                                         es,orothers
    K so
    IZIYes                                           Institutionnameorindi vi
                                                                            dual:
23.Annuities(A contractforaperiodi
                                 cpaymentofmoneytoyou,ei
                                                       therforIi
                                                               feorforanumberofyears)
  K Nc
  Q Yes       ..       l
                       ssuernameanddescripti
                                           on
24.Interests inan education 1RA,in anaccountina qualifi
                                                      ed ABLE program ,orunderaquali
                                                                                   fied state tui
                                                                                                tion program.
      26U.S.C.jj530(b)(1),529A(b),and529(b)(1).
Ofhci
    alForm 106A/B                                                                            Schedul
                                                                                                   e A/B:Property                                                       Pgge3
SoftwareCopyright(c)1996-2019BestCase,LLC -www.bestcaseacom                                                                                                   BestCaseBankruptcy
           Case 1:20-bk-10213-MT                       Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                    Desc
                                                       Main Document    Page 15 of 40
 Debtcr1       Afsaneh Doost                                                                Case number(i
                                                                                                        fknown)
    K No
    I
    ZIYes.
         ............        Instituti
                                     onname anddescripti
                                                       on.Separatelyfilethe recordsofany i
                                                                                         nterests.11U.S.
                                                                                                       C.j521(c):
25.Trusts,equitableorfutureinterestsinproperty(otherthananythingIistedinIine1),and righe orpowersexercisableforyourbenefit
   K so
   Q Yes.Givespeci ficinformati
                              onaboutthem...
26. Patents,copyrights,trademarks,tradesecre/,and otherintellectualpropedy
    Examples:Internetdomain names,websites,proceedsfrom royaltiesand I
                                                                     icensing agreements
    * so
    Q Yes.Gi
           vespecificinformationaboutthem...
27. Licenses,franchises,and othergeneralintangibl  es
    Examples:Building permits,exclusive I
                                        icenses,cooperati
                                                        ve associati
                                                                   onholdi
                                                                         ngs,I
                                                                             iquorIicenses,professi
                                                                                                  onalI
                                                                                                      icenses
    K No
    IZIYes.Gi
            vespeci
                  ficinformati
                             onaboutthem...
 Money orpropedy owedto you?                                                                                        Currentvalueofthe
                                                                                                                    portionyou own?
                                                                                                                    Donotdeductsecured
                                                                                                                    claims orexem ptions.
28. Tax refunds owed to you
    K No
    Z Yes.Gi
           vespecificinformati
                             onaboutthem,i
                                         ncludingwhetheryoualreadyfil
                                                                    edthereturnsandthetaxyears.......

29. Family support
    Examples:Pastdue orIump sum alimony,spousalsuppod,chil
                                                         d suppod,maintenance,divorce settl
                                                                                          ement,propedysettlement
    K No
    Z Yes.Gi
           vespeci
                 fi
                  cinformation......

3O. Otheramounl someoneowes you
    Examples:Unpaid wages,di sabili
                                  tyinsurance payments,disabil
                                                             i
                                                             tybenests,si
                                                                        ck pay,vacati
                                                                                    on pay,workers'compensati
                                                                                                            on,Soci
                                                                                                                  alSecuri
                                                                                                                         ty
             benefi
                  ts'
                    ,unpaid Ioansyoumade to someone el  se
    K No
    Q Yes.Gi
           vespecificinformati
                             on..
31. Interests in insurance policies
     Examples.HeaIth,disabili
                            ty,orIi
                                  feinsurance'
                                             ,heal
                                                 thsavingsaccount(HSAI'
                                                                      ,credit,homeowner's,orrenter'sinsurance
    K No
    I
    ZIYes.NametheinsurancecompanyofeachpolicyandI     istitsvalue.
                                     Company name:                                   Benefici
                                                                                            ary:                     Surrenderorrefund
                                                                                                                     value:
32.Any interestin property thatisdue you from someone w ho hasdied
    Ifyouare thebeneficiaryofa l
                               iving trust,expectproceedsfrom a Ii
                                                                 fe insurance poli
                                                                                 cy,orare currentl
                                                                                                 y enti
                                                                                                      tl
                                                                                                       edto receivepropert
                                                                                                                         y because
    som eone hasdied.
    K No
    Z Yes.Gi
           vespeci
                 fi
                  cinformation..

33 Claim sagainstthird parties,whetherornotyou have filed a Iawsuitormadea demand forpaym ent
    Examples:Accidents,em ploymentdisputes,i
                                           nsurance claim s,orrightsto sue
    K No
    Q Yes.DescribeeachcIai
                         m.........
34.Othercontingentand unliquidated claims ofevery nature,including counterclaims ofthe debtorand righ? to setoffclaims
    K No
    I
    ZIYes.DescribeeachcIaim.........
35.Anyfinancialassetsyou did notalready Ii
                                         st
    K No
    I
    ZIYes.Givespecificinformati
                              on..
OfficialForm 106A/B                                           Schedul
                                                                    e A/B:Property                                                    9290 4
SoftwareCopyrlght(c)1996-2019BestCase LLC -www.bestcase.com                                                                 BestCaseBankruptcy
               Case 1:20-bk-10213-MT                                     Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                                                 Desc
                                                                         Main Document    Page 16 of 40
 Debtor1           Afsaneh Doost


 36. Add thedollarvalueofaIIofyourentri                esfrom Part4,includinganyentri                            esforpages you haveattached
     ftlrF'art.1.l!;ritllt81atrltlrn1)(,rk1(hre................-....................................................................................................

 e.
            Describe Any Business-Related Property You Own orHave an lnterestln.Listany realestate in Part1.

37.DoyouownorhaveanyIegalorequitableinterestinanybusiness-related property?
  K No. GotoPart6.
   I
   ZIYes.Gotoli
              ne38              .




 *.     .   Describe Any Farm-and CommercialFishing-Related Property You Own orHave an InterestIn.
            Ifyou ownorhave aninterestinfarmland,listitin Pad 1.

46.Doyou ownorhaveany legalorequitabl
                                    e interestin any farm-orcommercialfi
                                                                       shing-related property?
       K No GotoPad7.
       E1Yes.GotoIi
                  ne47.

 *.
                   Describe AIIPropedyYou Own orHave an Interestin ThatYou Did NotListAbove

53. Do you have otherproperty ofany kindyou did notalready Ii
                                                            st?
    Examples:Season tickets,countfy club membershi
                                                 p
      K No
      Q Yes.Gi
             vespeci
                   ficinformati
                              on.........

 6521. yk(1(1tîlf,(1(h112tr%!111tltj()f2!11()fy()tlr(hf!tri(hipfr()fïlF'1!rtlr.llfritfht'll!tfltlfïlk)tjr'1f,r(h ....................................                            $0.00
 -,
        1        Listthe Totals ofEach Partofthis Form

 55. F3art1:lr(ltl!lrfh11I(,69tlltt),Iirl(,;! ....................................-....................................................--...........................     191,1$1$(),()()().()()
 56. Pad 2:Totalvehicles,Iine5                                                                                          $0.00
 57. Part3:Totalpersonalandhouseholditems,Iine15                                                                   $13,000.00
 58. Part4'
          .Totalfinancialassets,Iine36                                                                                 $93.00
 59. Part5:Totalbusiness-relatedproperty,Iine45                                                                         $0.00
 60. Part6:Totalfarm-andfishing-rel atedpropedy,Iine52                                                                  $0.00
 61. Part7:TotalotherpropertynotIisted,Iine54                                                        +                  $0.00
 62. Totalpersonalproperty.Add Iines56 through61...                                                                $13,093.00              Copypersonalpropedytotal           $13,093.00
63. TotalofaIIproperty on ScheduleA/B. AddI
                                          i
                                          ne55+Iine62                                                                                                                  $1563,093.00




OfficialForm 1O6A/B                                                                   Schedul
                                                                                            eA/B:Property                                                                              page 5
SoftwareCopyrlght(c)1996-2019BestCase,LLC -www.bestcase.com                                                                                                               BestCaseBankruptcy
             Case 1:20-bk-10213-MT                    Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                             Desc
                                                      Main Document    Page 17 of 40
                     #   . #   @ #*      .       *

 Debtor1                  Afsaneh Doost
                          FirstName                  MiddleName                 LastName
 Debtor2
 (SpouseIf,flllng)
 United States BankruptcyCourtforthe:          CENTRALDISTRICT OF CALIFO RNIA

 Case number
 (ifknown)                                                                                                             I
                                                                                                                       ZI Checkifthisisan
                                                                                                                           amendedfili
                                                                                                                                     ng

OfficialForm 106C
Schedule C :The Property Y ou C laim as Exem pt                                                                                               4/19
Be ascomplete and accurate aspossi
                                 ble.Iftwomarri
                                              ed peopl
                                                     e arefil
                                                            ing together, bothare equall
                                                                                       y responsibl
                                                                                                  eforsupplying correctinformati
                                                                                                                               on.Usi
                                                                                                                                    ng
thepropertyyouli
               stedonSchedule+8.
                               .Property(Offi
                                            cialForm 106A/B)asyoursource,Ii
                                                                          stthepropertythatyouclaim asexempt.Ifmorespacei
                                                                                                                        s
needed,filloutand attachto thi
                             s page asmanycopi
                                             esofPaA 2:Additi
                                                            onalPage asnecessary. Onthe topofanyaddi
                                                                                                   tionalpages,wri
                                                                                                                 teyoufname and
casenumber(i
           fknown).
Foreach item ofpropedy youclaim as exempt,you m ustspecifythe amountofthe exem ption youclaim . Onewayofdoing so is to statea
specific dollaramountas exempt.Alternatively,you may claim thefullfairmarketvalue ofthe property being exempted up to the amountof
any applicabl
fund          e statutory Iimit.Someexemptions-such asthose forhealthaids,rights to recei ve certain benefil ,andtax-exemjtr  eht
    s- may be unlimi   ted in dollaramount.However,ifyou cl
                                                          aim an exemption of100% offairmarketvalue undera      Iaw thatIiml
                                                                                                                           ts t ei
                                                                                                                                 rement
exemption to a parti culardoll aramountandthe value ofthe property i
                                                                   s determined to exceed thatamount,yourexemptionwould be Iimited
tothe applicable statutory amount.
 *-
             Identifythe PropertyYouCl
                                     aim as Exempt
 1. w hichsetofexemptions areyou claiming? Check oneon/
                                                      y, even i
                                                              fyourspouseisfi
                                                                            ling withyou.
      K You arecl
                aim ing state andfederalnonbankruptcy exempti
                                                            ons. 11U.S.C.j522(b)(3)
      I
      ZIYouareclaimingfederalexemptions. 11U.S.  C.j522(b)(2)
2. Forany property you Iiston Schedule4/8 thatyou claim as exem pt,fillin the information below.
      Briefdescription ofthe property a0d Iine on      Currentvalueofthe    Amountofthe exemption you claim     Specific Iawsthatallow exemption
      SchedtlleA1B thatlists this propedy              portionyou own
                                                       Copythevaluefrom     Checkon/y0neboxr0reachexemptiLm.
                                                       Schedule /4/8
      4567W hiteOak PLC Encino,CA                            $1,55:,:0:.%   z                                   C.C.P.1 703.14Q(b)(1)
      91316 Los Angeles County
                     eAzs:1.1
      Linefrom schedul                                                      K looo offai
                                                                                       rmarketvalue, upto
                                                                                  anyappli
                                                                                         cablestatutoryIim i
                                                                                                           t

      Checking accountW ells Fargo Bank                            $:a.cc   .                          $:a.cc C.C.P.j 703.140(b)(5)
      Line from ScheduleA/8:17.1
                                                                            Q 100% offairmarketvalue, up to
                                                                                  anyapplicabl
                                                                                             e statutoryli
                                                                                                         m it

      SingleFamily Residence                                 $,2sc,ccc.cc   .                    $jcc,ccc.cc    C.C.P.ï 703.140(b)(1)
      4567 W hite Oak PI.                                      '
      Encino,CA 91316                                                       Q 100% offairmarketvalue, upto
      Linefrom ScheduleA/8:                                                       any applicabl
                                                                                              e statutoryIi
                                                                                                          mit

3. Areyouclaimingahomesteadexemptionofmorethan$170,350?
   (Subjecttoadjustmenton4/01/22andevery3yearsafterthatforcasesfil
                                                                 edonorafterthedateofadjustment.)
   K No
   Z Yes.Didyouacquirethepropertycoveredbytheexemptionwithin1,215 daysbefore you5Ied thiscase?
        Q No
        L Yes




OfficialForm 106C                               Schedule C:ThePropedy YouClaim as Exempt                                                 page 1of1
SoftwareCopyrlght(c)1996-2019BestCase,LLC -www bestcasecom                                                                         BestCase Bankruptcy
              Case 1:20-bk-10213-MT                     Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                                     Desc
                                                        Main Document    Page 18 of 40
                     @   . :   : :*        @     . *

 Debtor1                  Afsaneh Doost
                          FirstName                    MiddleName                 LastName
 Debtor2
 (Spouse!f,fplhng)
 Uni
   ted States BankruptcyCourtforthe:             CENTI
                                                     RALDISTRICT O F CALIFORNIA
 Case number
 (pfknown)                                                                                                                     I
                                                                                                                               ZI Checkifthisisan
                                                                                                                                   amended filing

OfficialForm 106D
Schedule D:C reditors W ho H ave Claim s Secured by Property                                                                                        12/15
Beas complete and accurate aspossible.lftwo married people are filing together,both areequally responsible forsupplying correctinformation.Ifmore space
is needed,copythe AdditionalPage,fillitout,num berthe entries,and attach itto thisform.On the top ofany additionalpages,writeyourname and case
number(ifknown).
1.Do any creditors have claimssecured by yourproperty?
         Z No.Checkthisboxandsubmi      tthi
                                           sform tothecourtwithyourotherschedules. Youhave nothing else to repod on thisform .
         K Yes FillinaIIofthe informationbelow.
               .

 *-
               ListAIISecured Claims
 2.Listallsecured claims.Ifacreditorhas morethan one secured claim,Iistthe creditorseparately   Column A              Colêllnn 8            Column C
 foreach claim, Iffnorethanone creditorhasa particularclaim.listthe othercreditorsin Part2.As   Amountofclaim         Value ofcollateral    Unsecured
 muchaspossible,Iistthe claimsinalphabeticalorderaccording to the creditor's name.              Do notdeductthe       thatsupports this     portion
                                                                                                value ofcollateral.   claim                 lfany
 2.1 BankOfAmerica                             Describethepropertythatsecurestheclaim:          $1,493,000.00           $1,550,000.00                $0.00
          credl
              tor'
                 sName                         4567 w hite Oak PLC Encino,CA
                                               91316 Los Angeles County
          1800 Tapo Canyon Rd                  Asofthedateyoufile,theclaim is:checkaIIthat
                                     .         apply
          Sim iValley,CA 93063                 E1contingent
          Number.Street.Cl
                         ty,State&Zi
                                   pCode       Z Unli quidated
                                               Z Di  sputed
W ho owes the debt? Checkone.                  Nature ofIien.Checkallthatapply.
 K Debtor1only                                 K Anagreementyoumade(suchasmortgageorsecured
 Z Debtor2only                                    CarIOan)
 Z Debtor1andDebtor2onl y                      Z StatutoryIi
                                                           en(suchastaxIien,mechanic'sIien)
 Z Atl
     eastoneofthedebtorsandanother             Z JudgmentIi enfrom aI
                                                                    awsuit
 Z Checkifthiscl
               aim relatestoa                  Z Other(includi
                                                             ngarighttooffset)
         community debt




     Addtbedol   larvalueofyourentriesinColumnAonthispage.Writethatnumberhere:                          $1j493,000*00
     Ifthis isthe Iastpage ofyourform,add the dollarvaluetotals from alIpages.
     wri tethatnumberhere:                                                                              $1,493,000.00
 -
     .       Listothersto Be Noti
                                fied fora DebtThatYouAlready Listed
Use this page only ifyou have others to be notified aboutyourbankruptcyfora debtthatyou already Iisted in Part1.Forexam ple,ifa collection agency is
trying to collectfrom youfora debtyou owe to someoneelse,Iistthecreditorin Part1,and then listthe collection agency here.Sim ilarly,ifyou have more
than one creditorforany ofthe debts thatyou Iisted in Pad 1,Iistthe additionalcreditors here.Ifyou do nothave additionalpersons to be notified forany
debts in Part1,do notfillotltorsublnitthis page.




Offi
   cialForm 1O6D                               Schedule D:Credi
                                                              torsW ho HaveClaims Secured by Property                                             page 1of1
SoftwareCopyrlght(c)1996-2019BestCase,LLC -wwwabestcase.com                                                                                 BestCaseBankruptcy
             Case 1:20-bk-10213-MT                       Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                                         Desc
                                                         Main Document    Page 19 of 40
                     @   . @   @ e*     @           -

 Debtor1                  Afsaneh Doost
                          FirstName                     Middle Name                  LastName
 Debtor2
 (SpouseIf.flling)
 United StatesBankruptcy Courtforthe:          CENTRAL DI
                                                        STRICT OF CALIFORNI
                                                                          A
 Case number
 (Ifknown)                                                                                                                          E1 Checki
                                                                                                                                            fthi
                                                                                                                                               sisan
                                                                                                                                         amended fi
                                                                                                                                                  ling

OfficialForm 106E/F
Schedule E/F:Creditors W ho Have Unsecured Claim s                                                                                                  12/15
Beascompleteandaccurateaspossible.UsePad 1forcreditorswithPRIORITY claimsandPad 2forcreditorswith NONPRIORITY claims.Listtheotherpartyto
anyexecutorycontractsorunexpiredleasesthatcoul
                                             d resul
                                                   tinaclai
                                                          m .AlsoIistexecutorycontractsonSchedul
                                                                                               eNBIProperty(OfficialForm 106A/B)and on
Schedul
      eG:ExecutoryContractsandUnexpiredLeases (OfficialForm 106G).Do noti
                                                                        ncludeanycreditorswithpadiall
                                                                                                    ysecured claimsthatarelistedin
Schedule D:CreditorsW ho Have Claims Secured by Property.lfmorespace is needed,copy the Partyou need,fillitout,numberthe entries in the boxes onthe
Ieft.Attach the Continuation Page to this page.Ifyou have no informationto reportin a Part,do notfile thatPart.On thetop ofany additionalpages,writeyour
nameand casenumber(ifknown).
 --
          ListAIIofYourPRIORITY Unsecured Cl
                                           aims
 1. Do any creditors have priority unsecured claims againstyou?
    K No.GotoPad2.
      I
      ZIves
 *.
             ListAIIofYourNONPRIORITY Unsecured Cl
                                                 aims
 3. Do any creditors have nonpriorityunsecured claims againstyou?
      Z No.Youhavenothingtoreporti
                                 nthi
                                    spartSubmitthisform tothecoudwithyourotherschedules.
                                                .


      K ves
 4. ListaIIofyournonpriority unsecured claims in the alphabeticalorderofthe creditorwho holdseach claim.Ifa creditorhasmore than one nonpriority
    unsecured ciaim,listthe creditorseparately foreach claim ,Foreach claim Iisted,identifywhattygeofclaim itis.Do notIistclaims already included in Part1.Ifmore
    than one creditorholdsa particularclaim,ljsttheothercreditorsin Pad 3.Ifyou have more thanthree nonpriority unsecured claimsfilloutthe Continuation Pageof
      Part2.
                                                                                                                                            Totalclaim
4.1       AFNI                                                 Last4digitsofaccountnumber 4430                                                            $68.21
          NonpriorityCreditor's Name
          404 Brock Dr.                                        Whenwasthedebti
                                                                             ncurred?
          Bloom ington,IL 61702
          NumberStreetCi
                       N StateZipCode                          Asofthedateyoufil
                                                                               e,theclaim i
                                                                                          s:CheckaI
                                                                                                  Ithatappl
                                                                                                          y
          W ho incurred the debt? Check one.
          K Debtor1only                                         C1Contingent
          E1Debtor2only                                         Z Unli
                                                                     quidated
          I
          E1Debtor1andDebtor2only                               Z Disputed
          E1AtI
              eastoneofthedebtorsandanother                    TypeofNONPRIORITY unsecuredclaim:
          I
          ZIcheckifthiscl
                        aim i
                            sforacommuni  ty                    Z StudentI
                                                                         oans
          debt                                                  Z Obli
                                                                     gati
                                                                        onsari
                                                                             singoutofaseparati
                                                                                              onagreementordi
                                                                                                            vorcethatyoudi
                                                                                                                         dnot
          I
          sthecl
               aim subjecttooffset?                            reportas priorityclaims
          K No                                                  Z Debtstopensionorprofit-sharingpl
                                                                                                 ans,andothersi
                                                                                                              mil
                                                                                                                ardebts
          D ves                                                 K other.specify Creditcard Lasytused 2009




OfficialForm 106 E/F                             Schedule E/F:CreditorsW ho Have Unsecured Claims                                                        Page 1of7
SoftwareCopyrlght(c)1996-2019BestCase.LLC-www.bestcaseacom                                  44560                                                 BestCaseBankruptcy
          Case 1:20-bk-10213-MT                    Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                                Desc
                                                   Main Document    Page 20 of 40
Debtor1 Afsaneh Doost                                                   Casenumber(i
                                                                                   fknown)
42       AW A Collections                                Last4digi
                                                                 tsofaccountnumber 4250                                               $4,812.00
         Nonpriority Creditor's Name
         P.O .Box 5545                                   Whenwasthedebtincurred?
         Lake Forest,CA 92630
         NumberStreetcity State Zip Code                 As ofthe dateyou file,the claim is:CheckaIIthatapply
         w ho incurred the debt? checkone.
         K Debtor1only                                   Z contingent
         Q Debtor2only                                   Q Unl iquidated
         Q Debtor1andDebtor2onl   y                      Z Di sputed
         Z Atleastoneofthedebtorsandanother              IXPPOfNONPRIORITYunsecuredclaim:
                                                         '
         Q Checki fthisclaim isfora communi
                                          ty             Z StudentI  oans
         debt                                            I
                                                         ZIobl igationsarisingoutofaseparationagr eementordi vorcethatyoudi
                                                                                                                          dnot
         I
         stheclaim subjectto offset?                     reportaspriorityclaims
         K No                                            Q Debtstopensi   onorprofi
                                                                                  t-sharingpl
                                                                                            ans, and othersimilardebts
         Q ves                                           K otherspeci   fy CreditCard Lastused 02/2009

4.3      Behrouz Lalezarzadeh                            Last4digitsofaccountnumber 3407                                              $2,440.00
         Nonpriority Creditor'sName
         419 Clark St.                                   Whenwasthedebtincurred?           06/05/18
          CA 91211
         NumberStreetCiN StateZi
                               pCode                     Asofthedateyoufile,theclaim is:CheckaI
                                                                                              lthatappl
                                                                                                      y
         W ho incurred the debt? Checkone.
         K Debtor1only                                   Q Contingent
         D Debtor2only                                   Q Unli
                                                              quidated
         D Debtor1andDebt or2onl y                       Q Disputed
         D Atleastoneofthedebtorsandanother              Type ofNONPRIORIR unsecured claim:
         D checki fthi
                     sclaim isfora community             Q Studentloans
         debt                                            Z Obligationsari
                                                                        si
                                                                         ngoutofaseparationagr
                                                                                             eementordi
                                                                                                      vorcethatyoudi
                                                                                                                   dnot
         I
         sthecl
              aim subjecttooffset?                       reportaspriority claims
         K No                                            Z Debtstopensionorprofi
                                                                               t-sharingpl
                                                                                         ans, and othersimilardebts
         D ves                                           K OtherSpecify Claim fordeposit

44       CHASE                                           Last4digitsofaccountnumber 9052                                                $869.94
         NonpriorityCreditor's Name
         P.O.Box 94014                                   Whenwasthedebtincurred?
         Palatine,IL 60094
        NumberStreetCity State ZipCode                   As ofthe date you file,the claim is:Checka1Ithatapply
        W ho incurred the debt? Checkone.
        K Debtor1only                                    Z conti ngent
        D Debtor2only                                    Q Unliquidated
        D Debtor1andDebtor2onl  y                        D Di sputed
        Z AtIeastoneofthedebtorsandanother               TypeOfNONPRIORI   TYunsecuredclaim:
        D Checkifthisclaim isfora community              (:1studentloans
        debt                                             I
                                                         ZIobligationsari
                                                                        si
                                                                         ngoutofaseparati
                                                                                        onagreementordivorcethatyoudi
                                                                                                                    dnot
        Istheclaim subjecttooffset?                      reportaspri
                                                                   oritycl
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         K No                                            Q Debtst
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                                                                              t-shari
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                                                                                                      ardebts
         Q ves                                           K otherspeci
                                                                    fy creditcard Iastused 11/09




OfficialForm 106 E/F                              Schedule E/F:CreditorsW ho Have Unsecured Claims                                      Page 2of7
SoftwareCopyright(c)1996-2019BestCase,LLC -www.bestcasecom                                                                        BestCaseBankruptcy
          Case 1:20-bk-10213-MT                    Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                           Desc
                                                   Main Document    Page 21 of 40
 Debtor1 Afsaneh Doost                                                                   Casenumber(i
                                                                                                    fknown)
 4.
  5      credence                                        Last4digitsofaccountnumber                                                   $0.00
         NonpriorityCreditor's Name
         17000 dallas pkw y                              Whenwasthedebtincurred?
         Dallas,TX 75248
         NumberStreetCity State Zip code                 As ofthe dateyou file,the claim is:Check aIIthatapply
         who incurred the debt? checkone.
         K Debtor1only                                   Q contingent
         I
         ZIDebtor2only                                   Q Unli
                                                              quidated
         I
         ZIDebtor1andDebtor2only                         Z Disputed
         Z AtIeastoneofthedebtorsandanother              TypeOfNONPRIORITYunsecuredclaim:
         Z checkifthisclaim i
                            sforacommuni  ty             D studentIoans
         debt                                            D obli
                                                              gationsarisingoutofaseparationagreementordi
                                                                                                        vorcethatyoudi
                                                                                                                     dnot
         l
         sthecl
              aim subjecttooffset?                       repodaspri
                                                                  ori
                                                                    tyclai
                                                                         ms
         K No                                            D Debtstopensionorprofi
                                                                               t-sharingplans, and othersimilardebts
         I
         ZIYes                                           K other. specify

                                                         Last4digitsofaccountnumber 1000                                         $2,317.00
                                                         Whenwasthedebtincurred?           09/10/2019
         111 N.Hope St.
         Los Angeles,CA 90012
         NumberStreetCity State Zip Code                 As ofthe date you file,the claim is:Checkallthatappsy
         W ho incurred the debt? Checkone.
         K Debtor1only                                   Z Contingent
         I
         ZIDebtor2only                                   Z Unli
                                                              quidated
         Z Debtor1andDebtor2only                         Z Disputed
         Q Atl
             eastoneofthedebtorsandanother               TypeofNONPRIORITY unsecured claim:
         Z Checkifthisclaim i
                            sforacommunity               Z StudentI
                                                                  oans
         debt                                            Z Obli
                                                              gati
                                                                 onsari
                                                                      singoutofaseparati
                                                                                       onagreementordi
                                                                                                     vorcethatyoudi
                                                                                                                  dnot
         I
         sthecl
              aim subjecttooffset?                       repod as priorityclaims
         K No                                            Z Debtstopensionorprofit-sharingpi
                                                                                          ans,andothersi
                                                                                                       mil
                                                                                                         ardebts
         I
         ZIves                                           K other.specify W aterand Electricity Bill

 4.
  7      EquitableAccentFinancial,LLC                    Last4digi
                                                                 tsofaccountnumber 4237                                         $4,429.00
         NonpriorityCreditor's Name
         5030 Cam iono De La Siesta #340                 Whenwasthedebtincurred?
         San Diego,CA 92108
         NumberStreetCity State ZipCode                  Asofthe date you file,theclaim is:Checkal1thatapply
         W ho incurred the debt? Checkone.
         K Debtor1onl
                    y                                    Q Conti
                                                               ngent
         I
         ZIDebtor2onl
                    y                                    Z Unl
                                                             iqui
                                                                dated
         I
         ZIDebtor1andDebtor2onl y                        Z Di
                                                            sputed
         Q Atl
             eastoneofthedebtorsandanother               Type ofNONPRIORITY unsecured claim :
         I
         ZIcheckifthi
                    sclaim isfora community              Z StudentIoans
         uebt                                            Z Obligati
                                                                  onsari
                                                                       si
                                                                        ngoutofaseparati
                                                                                       onagreementordivorcethatyoudidnot
         Istheclaim subjecttooffset?                     repod aspriority claims
         K No                                            Z Debtstopensi onorprofi
                                                                                t-shari
                                                                                      ngpl
                                                                                         ans,andothersimi
                                                                                                        lardebts
         I
         ZIyes                                           K other. speci
                                                                      fy Creditcard assigned to collection




OfficialForm 106 E/F                              Schedule E/F:CreditorsW ho Have Unsecured Claims                                 Page 3 of7
SoftwareCopyright(c)1996-2019BestCaselLLC -wwwxbestcase.com                                                                  BestCaseBankruptcy
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                                                  Main Document    Page 22 of 40
Debtor1 Afsaneh Doost                                                                   Casenumber(i
                                                                                                   fknown)
4.8      Haleh m ansouri                                Last4digi
                                                                tsofaccountnumber Doost                                            $2,300.00
         Nonpriority Creditor's Name
         624 S.Grand Ave.,32200                         Whenwasthedebti
                                                                      ncurred?
         Los Angeles,CA 90017
        NumberStreetCityStateZip Code                   As ofthedate you file,the claim is:CheckaIIthatapply
        w ho incurred the debt? checkone.
        K Debtor1only                                   I
                                                        ZIcontingent
        I
        ZIDebtor2only                                   Q Unliqui
                                                                dated
        (
        :1Debtor1andDebtor2onl  y                       Z Disputed
        Z AtIeastoneofthedebtorsandanother              TyPe0fNONPRIORITYunsecuredclaim:
        Z Checki fthi
                    sclaim isfora community             Q Studentloans
        debt                                            I
                                                        ZIobligati
                                                                 onsari
                                                                      si
                                                                       ngoutofaseparati
                                                                                      onagreementordivorcethatyoudi
                                                                                                                  dnot
        lstheclaim subjecttooffset?                     reportaspri
                                                                  orityclaims
        K No                                            Z Debt stopensi onorprofit-sharingpl
                                                                                           ans,andothersi
                                                                                                        mil
                                                                                                          ardebts
        IZIves                                          K other.specify IegalFees

4.9      LCO Pool& Spa                                  Last4digi
                                                                tsofaccountnumber                                                       $0 00
         Nonpriority Creditor's Name
        P.O.Box 7115                                    Whenwasthedebti
                                                                      ncurred?
        Van Nuys,CA 91409
        NumberStreetCity State ZipCode                  As ofthedate you file,the claim is:CheckaIIthatapply
        w ho incurred the debt? checkone,
        K Debtor1only                                   Q conti ngent
        Z Debtor2only                                   IZIUnliqui
                                                                 dated
        Z Debtor1andDebtor2onl  y                       Q Di sputed
        Z AtIeastoneofthedebtorsandanother              TypeOfNONPRIORITYunsecuredclaim:
        Q checkifthisclaim isfora community              Z StudentIoans
        debt                                             I
                                                         ZIobligati
                                                                  onsari singoutofaseparationagreementordivorcethatyoudi
                                                                                                                       dnot
         I
         sthecl
              aim subjecttooffset?                      reportaspriorityclaims
         M No                                           Z Debtstopensi   onorprofit-shari
                                                                                        ngpl
                                                                                           ans,andothersi
                                                                                                        milardebts
         I
         ZIyes                                           K otherspeci  fy poolservice

4.1
o        LindenTrust                                    Last4digi
                                                                tsofaccountnumber 2319                                           $20,000.00
         Nonpriority Creditor's Name
        7215 Canby Ave.                                 Whenwasthedebtincurred?          01/19/2019
        Reseda,CA 91335
        NumberStreetCityState ZipCode                   Asofthe date you file,theclaim is:Checka1lthatapply
        W ho incurred the debt? Checkone.
         K Debtor1only                                  Z contingent
         D Debtor2only                                  IZIUnl
                                                             iqui
                                                                dated
         D Debtor1andDebtor2onl  y                      Z Disputed
         Q Atl
             eastoneofthedebtorsandanother              Type ofNONPRIORITY unsecured claim :
         D checkifthisclaim isforacommunity             Z StudentIoans
        debt                                            IZIObl
                                                             igati
                                                                 onsari
                                                                      si
                                                                       ngoutofaseparati
                                                                                      onagreementordivorcethatyoudi
                                                                                                                  dnot
        Istheclaim subjecttooffset?                     repod aspriority claims
        K No                                            Z Debtstopensionorprofi
                                                                              t-shari
                                                                                    ngpl
                                                                                       ans,andothersimil
                                                                                                       ardebts
        (:1ves                                          K Otherspecify PersonalIoan
                                                                .




OfficialForm 106 E/F                             Schedule E/F:CreditorsW ho Have Unsecured Claims                                    Page4Of7
SoftwareCopyrlght(c)1996-2019BestCase LLC-wwwabestcase.com                                                                     BestCaseBankruptcy
          Case 1:20-bk-10213-MT                    Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                             Desc
                                                   Main Document    Page 23 of 40
Debtor1 Afsaneh Doost                                                                   Casenumber(i
                                                                                                   fknown)
4.1
1       M ichaelS.Hunt                                   Last4digitsofaccountnumber 8943                                         $21,613.39
        NonpriorityCreditor's Name
        151 BernalRoad #8                                W hen was the debtincurred?
        San Jose,CA 95119
        NumberStreetCity State ZipCode                   As ofthe dateyou file,the claim is:CheckaIIthatapply
        W ho incurred the debt? Checkone.
        Q Debtor1only                                    Z Contingent
        Z Debtor2only                                    Z Unli
                                                              quidated
        Z Debtor1andDebtor2only                          Z Di
                                                            sputed
        K AtI
            eastoneofthedebtorsandanother                Type ofNONPRIORITY unsecured claim:
        Q Checkifthisclaim isforacommunity               Z Studentl oans
        debt                                             Q Obligationsari
                                                                        si
                                                                         ngoutofaseparationagr
                                                                                             eementordi
                                                                                                      vorcethatyoudidnot
        lstheclaim subjectto offset?                     reportaspriorityclaims
        K No                                             Z Debtstopensi
                                                                      onorprofi
                                                                              t-sharingpl
                                                                                        ans,andothersimi
                                                                                                       l
                                                                                                       ardebts
                                                         K              creditcard debtassigned to collection
        (:1ves                                              other.Speci
                                                                      fy reduced tojudgment

41
2       Mohammad Hassani                                 Last4digitsofaccountnumber                                                  $850.00
        Nonpriority Creditor'sName
        301E.Carolina St.#201                            Whenwasthedebtincurred?
        Marion,O H 43301
        NumberStreetCityState Zip Code                   As ofthe dateyoufile,the claim is:Check aIIthatapply
        w ho incurred thedebt? checkone.
        K Debtor1only                                    Z contingent
        Z Debtor2only                                    Z Unii
                                                              quidated
        Z Debtor1andDebtor2onl  y                        Z Disputed
        Q AtIeastoneofthedebtorsandanother               TypeOfNONPRIORITYunsecuredclaim:
        Z checkifthisclaim isfora community              Z StudentI oans
        debt                                             C:1obl
                                                              igationsari
                                                                        si
                                                                         ngoutofaseparationagr
                                                                                             eementordivorcethatyoudi
                                                                                                                    dnot
        Istheclaim subjectto offset?                     reportaspriori
                                                                      tyclai
                                                                           ms
         K No                                            E1Debtstopensi
                                                                      onorprofi
                                                                              t-sharingpl
                                                                                        ans,andothersimi
                                                                                                       l
                                                                                                       ardebts
         I
         ZIYes

4.1
a       Nordstrom/FaicollectInc                          Last4digitsofaccountnumber 0098                                             $475.00
        NonpriorityCreditor'sName
        P.O .Box 7148                                    Whenwasthedebtincurred?
        Bellevue,W A 98008
        NumberStreetCityState Zip Code                   As ofthe dateyoufile,the claim is:Check aIIthatapply
        W ho incurred the debt? Checkone.
        K Debtor1only                                    I
                                                         ZIcontingent
        IZIDebtor2only                                   Z Unli qui
                                                                  dated
         Z Debtor1andDebtor2onl   y                      Z Disputed
         Z AtIeastoneofthedebtorsandanother              T#PeOfNONPRIORITYunsecuredclaim:
         I
         ZIchecki fthisclaim isfora communi
                                          ty             Z StudentIoans
        debt                                             L obl igationsari
                                                                         singoutofaseparationagreementordivorcethatyoudi
                                                                                                                       dnot
        Istheclaim subjectto offset?                     reportaspriori
                                                                      tyclai
                                                                           ms
         K No                                            Q Debtstopensionorprofi t-sharingpl
                                                                                           ans,andothersimil
                                                                                                           ardebts
         I
         ZIYes                                           K other. specify CreditCard Lastused 11/09




OfficialForm 106 E/F                              Schedule E/F:CreditorsW ho Have Unsecured Claims                                   Page 5 of7
SoftwareCopyright(c)1996-2019BestCase,LLC -www bestcase.com                                                                    BestCaseBankruptcy
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                                                       Main Document    Page 24 of 40
Debtor1 Afsaneh Doost                                                       Casenumber(i
                                                                                       fknown)

             Sears Gold MasterCard                           Last4di
                                                                   gitsofaccountnumber 0917                                                    $5,177.45
             NonpriorityCreditor's Name
             726 Echange Street#700                          W hen was the debtincurred?
             Buffalo,NY 14210
             NamberStreetCity State ZipCode                  As ofthe date you file,the claim is:CheckaIlthatapply
             W ho incurred the debt? Checkone.
             K Debtor1only                                    D conti
                                                                    ngent
             Z Debtor2only                                    I
                                                              ZIOnli
                                                                   quidated
             Z Debtor1andDebtor2onl y                         Q Disputed
             IZlAtI
                  eastoneofthedebtorsandanother              TypeofNONPRIORITY unsecured claim:
             Q Checkifthisclaim i
                                sforacommunity                I
                                                              ZIstudentloans
             debt                                             Z Obligati
                                                                       onsarisingoutofaseparati
                                                                                              onagreementordi
                                                                                                            vorcethatyoudi
                                                                                                                         dnot
             Isthecl
                   aim subjecttooffset?                      reportas priorityclaims
             K No                                             C1Debtstopensi onorprofi
                                                                                     t-sharingplans,andothersi
                                                                                                             mil
                                                                                                               ardebts
             E1ves                                            K other.specify


             T Mobile                                         Last4digitsofaccountnumber 9363                                                  $1,331.53
             NonpriorityCreditor'sName
             P.0 .Box 51843                                  Whenwasthedebtincurred?            04/13/2017
             Los Angeles,CA 90051
             NumberStreetCiN StateZi
                                   pCode                     As ofthe dateyou file,the claim is:Check aI1thatapply
             W ho incurred the debt? Checkone.
             K Debtor1only                                   Z contingent
             Z Debtor2onl y                                  Z Unliquidated
             Z Debtor1andDebtor2onl    y                     Q Di sputed
             Z AtIeastoneofthedebtorsandanother              TVPOOfNONPRIORITYunsecuredclaim:
             IZICheckifthisclaim isfora communi
                                              ty             Z StudentIoans
             debt                                            I
                                                             ZIobl igationsarisingoutofaseparationagreementordivorcethatyoudi
                                                                                                                            dnot
             lstheclaim subjectto offset?                    reportaspriori
                                                                          tyclaims
             K No                                            Q Debtstopensi   onorprofi
                                                                                      t-sharingpl
                                                                                                ans,andothersimil
                                                                                                                ardebts
             Z Yes                                           K otherspecià
                                                                      .



 *
     -       ListOthers to Be Notified Abouta DebtThatYouA lready Listed
5.Use this page only ifyou have others to be notified aboutyourbankruptcy,fora debtthatyou already Iisted in Parts 1or2.Forexample,ifa collection agency
  is trying to collectfrom you fora debtyou owe to someone else!Iistthe originalcreditorin Pads 1or2,then Iistthe collection agency here.Similarly,ifyou
     have more than one creditorforany ofthe debts thatyou Iisted In Parts 1or2,Iistthe additionalcreditors here.Ifyou do nothave additionalpersons to be
     notified forany debts in Parts 1 or2,do notfilloutorsubmitthis page.
 *.      'Addthe AmountsforEachType ofUnsecured Claim
6.Totaltheamountsofcedaintype:nfunsecuredclaims.Thisinformation i
                                                                sforstatisticalreporting purposesonl
                                                                                                   y.28U.S.C.9159.Addtheamountsforeach
     typeofunsecured claim.
                                                                                                                 TotalClaim
                       6a. Domestic suppod obligations                                          6a.
 Total
 claims
 from Pad 1                  Taxes and certain otherdebt.
                                                        s you owethe government                 6b.     $                     0.00
                             Claimsfordeathorpersonalinjurywhil
                                                              eyouwereintoxi
                                                                           cated                6c.     $                     0.00
                             Other.AddaIlotherpriority unsecuredclaims.W rite thatamounthere.   6d.     $                     0.00

                       6e. TotalPriority.Add lines 6athrough6d.                                 6e.     $                     0.00

                                                                                                                 TotalClaim
                             StudentIoans
 Total
 c1airns
 from Part2            6g. Obligations arising outofa separation agreementordivorce that
                           you did notreportas priority claims                                          $                     0.00
                           Debtsto pension orprofit-sharing plans,and othersim ilardebts                $                     0.00

OfficialForm 106 E/F                               Schedule E/F:CreditorsW ho Have Unsecured Claims                                               Page 6 of7
SoftwareCopyright(c)1996-2019 BestCase,LLC -www bestcase.com                                                                               BestCase Bankruptcy
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Debtor1 Afsaneh Doost                                                                   Casenumber(i
                                                                                                   fknown)
                        Other.Add aIIothernonpriorityunsecuredclaims.W ritethatamount
                        here.                                                                        $       66,683.52

                        TotalNonpriority.AddIi
                                             nes6fthrough6i.                               6j.       $       66,683.52




OfficialForm 106 E/F                             Schedule E/F:Creditors W ho Have Unsecured Claims                               Page 7 of7
SoftwareCopyrlght(c)1996-2019BestCase,LLC-www bestcase.com                                                                BestCase Bankruptcy
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                                                      Main Document    Page 26 of 40
                    #   . @   @ .*      .     w *

Debtor1                  Afsaneh Doost
                         FlrstName                  M iddleName          LastName
Debtor2
(Spouse I
        f,fillng)
United States BankruptcyCoud forthe:           CENTRALDISTRI
                                                           CT OF CALIFORNIA

Casenumber
(ifknown)                                                                                                        (Z1 Checki
                                                                                                                          fthisisan
                                                                                                                    amendedfili
                                                                                                                              ng


OfficialForm 106G
Schedule G :Executory Contracts and Unexpired Leases                                                                                12/1s
Be as complete and accurateas possible.Iftwo married peoplearefiling together,both are equall
                                                                                            y responsibleforsupplying correct
information.I
            fmore space is needed,copy the additionalpage,fillitout,numberthe entries,and attach itto thi
                                                                                                        s page.Onthe top ofany
addi
   tionalpages,writeyournameandcasenumber(i
                                          fknown).
     Do you haveany executory contracts orunexpired I    eases?
     K No. Checkthisbox and file thisform with the courtwithyourotherSchedules.You have nothingelse to repofton thisform.
     I
     ZIYes.Fi
            llinaIIoftheinformati
                                onbelow eveni
                                            fthecontactsofl
                                                          easesareIi
                                                                   stedonSchedul
                                                                               eA/Bproperty(Offi
                                                                                               cialForm 106A/B).
     Listseparatelyeachpersonorcompanywithwhom youhavethecontractorIease.ThenstatewhateachcontractorIeaseisfor(for
     example,rent,vehicleIease,cellphone).Seetheinstructionsforthisform intheinstrudi
                                                                                    onbookl
                                                                                          etformoreexamplesofexecutorycontracts
     and unexpired Ieases.

                                                                           State whatthe contractorIease isfor




        City                                State             ZIP Code
 2.3
        Name




Off
  icialFcrm 106G                            ScheduleG:ExecutoryContractsand Unexpired Leases                                       Page 1of1
SoftwareCopyrlght(c)1996-2019BestCase.LLC -www.bestcasecom                                                                   BestCaseBankruptcy
             Case 1:20-bk-10213-MT                 Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                         Desc
                                                   Main Document    Page 27 of 40




                   #   . @   : :*       .   . *

 Debtor1                Afsaneh Doost
                        FirstName                 MiddleName              LastName
Debtor2
(Spouseifflllng)
 Uni
   ted States BankruptcyCourtforthe: CENTRALDISTRICT OF CALIFORNIA
Case num ber
 (Tfknown)                                                                                                       I
                                                                                                                 ZI Checki
                                                                                                                         fthisisan
                                                                                                                    amendedfili
                                                                                                                              ng


OfficialForm 106Dec
Declaration A boutan IndividualDebtor's Schedules                                                                                    l2/ls
Iftwo married peopl
                  e arefilingtogether,both areequall
                                                   y responsible forsupplying correctinformation.
You mustfilethis form wheneveryou file bankruptcy schedules oramended schedul
                                                                            es.Making a falsestatement,concealing property,or
obtaining money orpropedy by fraud in connection with a bankruptcy case can resul
                                                                                tin fines upto $250,000,orimprisonmentforupto 20
years,orboth.18U.S.C.jj162,1341,1519,and3571.

                Sign Below

      Did you payoragreeto pay someonewho is NOT an attorneyto help you filloutbankruptcy forms?

      Q
      K Yes.Nameofperson Afsaneh Doost                                                           AttachBankruptcyPetit
                                                                                                                     ionPreparer' sNoti
                                                                                                                                      ce,
                                                                                                 Declaration,andSignature(Offi
                                                                                                                             cialForm 119)

     Under           ' IdeclarethatIhave read the sum maryand schedules filed with thi
                                                                                     s declaration and
     t theyaretrue and corr ct.
      X                             Y
                                    '


             Xfsan       oost
             Signature ofDebtor1

             Date January 28,2020




OfficialForm 106Dec                               Declaration Aboutan lndividualDebtor's Schedules
                                                                                                                            BestCaseBankfuptcy
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                    #   . @   @ :*       @     . *

Debtor1                  Afsaneh Doost
                         FirstName                   Middle Name                 LastName
Debtor2
(Spouseif.fkling)
United StatesBankruptcy Courtforthe: CENTRAL DISTRICT OF CALIFORNI
                                                                 A

Case number
(lfknown)                                                                                                                    IZI Checkifthisi
                                                                                                                                            san
                                                                                                                                amended filing


OfficialForm 107
Statem entofFinancialA ffairs forIndividuals Filing for Bankruptcy                                                                                  4/19
Beascompleteandaccurateaspossible.Iftwomarri
                                           edpeoplearefilingtogether,bothareequallyresponsibleforsuppl
                                                                                                     yingcorrect
information.Ifmore space is needed,attach a separate sheetto this form.On the top ofanyadditlonalpages,wri
                                                                                                         te yourname and case
number(ifknown).Answereveryquestion.
 *
     -        Give DetailsAboutYourMaritalStatusand W hereYou Lived Before
         W hatis yourcurrentmaritalstatus?

         K Married
         I
         ZI Notmarri
                   ed
         Duringthe Iast3years,haveyou Iived anywhere otherthanw hereyou Iive now ?

         K   so
         Z   Yes.ListaIIoftheplacesyouIi
                                       vedintheIast3years.DonotincludewhereyouIi
                                                                               venow.
         Debtor1 PriorAddress:                            Dates Debtor1            Debtor2 PriorAddress:                           Dates Debtor2
                                                          Ii
                                                           ved there                                                               lived there
3. W ithinthelast8years,didyoueverIivewithaspouseorIegalequi     val
                                                                   entinacommunitypropertystateorterritory?(Communityproperty
statesandterri
             tori
                esincludeAri
                           zona,Cali
                                   fornia,Idaho,Loui
                                                   siana,Nevada,New Mexi
                                                                       co,PuedoRi
                                                                                co,Texas,WashingtonandWi  sconsin.
                                                                                                                 )
         D No
         K Yes Makesureyou,IloutSchedul
                                      eH'Yourcodebtors(Offi
                                                          cialForm 106H)
 -.
              Explainthe Sources ofYourlncome

         Did you have any income from employmentorfrom operating a business during this yearorthetwo previous calendaryears?
         Filinthetotalamountofincomeyoureceivedfrom aIIjobsandaIIbusinesses,i
                                                                            ncludingpad-timeacti
                                                                                               viti
                                                                                                  es.
         lfyouarefilingajointcaseandyouhaveincomethatyourecei vetogether,Ii
                                                                          sti
                                                                            tonlyonceunderDebtor1.
         L No
         K Yes. Fillinthedetails.
                                             Debtor1                                                    Debtor2
                                             Sourcesofincome                Gross income                Sources ofincome           Gross income
                                             Check aIIthatappl
                                                             y.             (beforededudionsand         CheckaIIthatapply.         (beforededudions
                                                                            exclusions)                                            andexclusions)
ForIastcalendaryear:                         Q wages,commi
                                                         ssi
                                                           ons,                        $18,
                                                                                          400.00        I
                                                                                                        ZIWages,commissions,
(January1toDecember31,2019)                  bonuses, tips                                              bonuses,tips
                                             K Operatingabusiness                                       Z Operatingabusiness




OfficialForm 107                                 StatementofFinancialAffairs forIndividuals Filing forBankruptcy                                   Page 1
SoftwareCopyrlght(c)1996-2019BestCase,LLC -www bestcaseacom                                                                             BestCase Bankruptcy
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                                                       Main Document    Page 29 of 40
 Debtor1 Afsaneh Doost


                                              Debtor1                                                  Debtor2
                                              Sources ofincome              Gross income               Sources ofincome         Gross incom e
                                              Check aIlthatappl
                                                              y.            (beforedeductionsand       CheckaIIthatapply.       (beforededudions
                                                                            exclusions)                                         andexclusions)
 For they
 (Januarcal
          1en
           todar yearer
              Decemb beforethat:
                       31                     1 w ages, commi
                                                            ssions,                   $17,500.00        I
                                                                                                        ZIW ages,commissions,
                          ,2018)              bonuses, tips                                            bonuses,tips
                                                                                                       D Operatingabusi
                                                                                                                      ness

 For thery
 tlanua  cal
          1en
           todar
              Decyemb
                  ear:
                     er31,                    M wages, commissions,                    $16,000.00       E1wages,commi
                                                                                                                    ssions,
                          2017)               bonuses, tips                                            bonuses,tips
                                              Q Operatingabusiness                                     Q Operatingabusi
                                                                                                                      ness

         Did you receiveanyotherincome during this yearorthetwo previ    ous calendaryears?
         Include income regardl
                              essofwhetherthatincome istaxable.Examplesofotheri  ncomeare alim ony'
                                                                                                  ,chil
                                                                                                      d support;SocialSecuri
                                                                                                                           ty, unempl
                                                                                                                                    oyment,
         and otherpubli
                      c benefitpayments'
                                       ,pensions'
                                                ,rentalincome'
                                                             ,interest'
                                                                      ,dividends'
                                                                                ,moneycollectedfrom I
                                                                                                    awsuits'
                                                                                                           ,royalti
                                                                                                                  es'
                                                                                                                    ,and gamblingand Iottery
         winnings.Ifyouarefil
                            ingajointcaseandyouhavei
                                                   ncomethatyoureceivedtogether,Ii
                                                                                 sti
                                                                                   tonl
                                                                                      yonce underDebtor1.
         Listeachsource andthegrossincome from each source separately.Do noti
                                                                            nclude incom ethatyou I
                                                                                                  isted in Ii
                                                                                                            ne 4.
         D No
         K Yes. Fillinthedetails.

                                             Debtor1                                                   Debtor2
                                             Sources ofincome               Gross incomefrom           Sourcesofincome          Gross income
                                             Describe bel
                                                        ow.                 eachsource                 Describebelow.           (beforededudions
                                                                            (beforededucti
                                                                                         onsand                                 andexclusions)
                                                                            exclusi
                                                                                  ons)
 ForIastcal
          endaryear:         rents                                                    $22,500.00
 (January1toDecember31,2019)

 *
     .        ListCertain PaymentsYou Made Before You Filed forBankruptcy
         Are ei
              therDebtor1's orDebtor2'
                                     s debl primaril
                                                   y consumerdebts?
         D No. NeitherDebtor1norDebtor2hasprimarilyconsumerdebts.Consumerdebtsaredesnedi
                                                                                       n11U.S.C.j101(8)as'incurredbyan
                   indi
                      vidualprimaril
                                   yfora personal,famil
                                                      y,orhousehol
                                                                 d purpose.'
                   Duringthe 90 daysbeforeyou5Iedforbankruptcy,di
                                                                d youpayanycreditoratotalof$6,825*ormore?
                   Z No. Go to Iine7.
                   Z Yes Li    stbelow eachcreditortowhom youpaidatotalof$6,825*ormore inone orm ore paymentsandthe totalamountyou
                               paidthatcreditor.Do notincl
                                                         ude paymentsfoedomesticsuppod obli
                                                                                          gati
                                                                                             ons,suchaschi
                                                                                                         ld supportand alimony.Also,do
                               notinclude paym entsto anattorneyforthisbankruptcycase.
                    *Subjecttoadjustmenton4/01/22andevery3yearsafterthatforcasesfil
                                                                                  edonoraft
                                                                                          erthedateofadjustment.
         K Yes. Debtor1orDebtor2orb0th have primarily consumerdebts.
                During the 90daysbefore youfi
                                            led forbankruptcy,didyou pay any credi
                                                                                 toratotalof$600ormore?
                   * No. Goto Iine 7.
                   D Yes Listbelow each creditortowhom you paid atotalof$600ormoreand the totalamountyoupaidthatcreditor.Do not
                               includepaymentsfordomesti csupportobligations,such aschil
                                                                                       d supportand alim ony.Al
                                                                                                              so,donotinclude paymentsto an
                               attorneyforthisbankruptcycase.

         Creditor's Nameand Address                       Dates ofpayment          Totalamount         Amountyou      W as thi
                                                                                                                             s paymentfor..
                                                                                          paid           stillowe




OfficialForm 107                                 StatementofFinancialAffairsforIndividuals Filing forBankruptcy                                Page2
SoftwareCopyrsght(c)1996-2019BestCase LLC -www.bestcaseacom                                                                         BestCaseBankruptcy
              Case 1:20-bk-10213-MT                 Doc 1 Filed 01/28/20 Entered 01/28/20 14:46:22                                  Desc
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 Debtor1 Afsaneh Doost


         W ithin 1yearbeforeyoufil ed forbankruptcy,did you make a paymentona debtyou owed anyonewho wasan insider?
         Insiders i
                  ncl
                    ude yourrel
                              atives'
                                    ,anygeneralpartners' ,relati
                                                               vesofanygeneralpadners;padnershipsofwhi ch youare ageneralpadner;corporations
         ofwhichyouare an ofhcer,director,person i
                                                 n control,orownerof20% ormore oftheirvoting securi
                                                                                                  ti
                                                                                                   es;and any managing agent, including onefor
         abusi
             nessyouoperateasasoleproprietor.11U.S.C.j101.lncludepaymentsfordomesticsuppodobli
                                                                                             gations,suchaschildsupportand
         alim ony.

         K so
         Z Yes.ListaIIpaymentstoani
                                  nsi
                                    der.
         Insider'
                s Name andAddress                      Dates ofpayment            Totalamount         Amountyou         Reasonforthis payment
                                                                                         paid           stillowe
         Wi thin 1yearbefore you filed forbankruptcy,did you make any payments ortransferany propertyon accountofadebtthatbenefited an
         insider?
         lnclude paymentsondebtsguaranteed orcosi  gnedbyan insider.

         K so
         Z Yes.ListalIpaymentstoaninsi
                                     der
         Insider'
                s Name andAddress                      Dates ofpayment            Totalamount         Amountyou         Reason forthis payment
                                                                                         paid           stillowe        Includecredi
                                                                                                                                   tor'
                                                                                                                                      s name
 *       '
     .        Identify LegalActions,Repossessions,and Foreclosures
         Wi
          thin 1yearbefore you filed forbankruptcy,wereyoua party in any Iawsuit,courtaction,oradministrati
                                                                                                          ve proceeding?
         Li
          staIIsuchmatters,includingpersonalinjurycases,smallcl
                                                              aimsacti
                                                                     ons,divorces,col
                                                                                    lecti
                                                                                        onsui
                                                                                            ts,paterni
                                                                                                     tyactions,suppoftorcustody
         m odifications,andcontractdisputes.

         L No
         K Yes. Fillinthe details.
         Case title                                    Nature ofthe case         Courtoragency                          Status ofthecase
         case number
         CITIBANK v.Doost,Afsaneh                                                SuperiorCourtofLos                     D Pending
         10E08943                                                                Angeles                                (
                                                                                                                        ZIonappeal
                                                                                 6230SylmarAve.                         D concluded
                                                                                 Van Nuys,CA 91401

         Lal
           ezarzadehv.Afsaneh Doost                   COLLECTION                 LASC                                   L Pending
         18VESC03407                                                             6230 SYLMA R AVE.                      IZIonappeal
                                                                                 Van Nuys,CA 91401                       . concluded


1O. W i
      thin 1yearbefore you filed forbankruptcy,w as any ofyourproperty repossessed,foreclosed,garni
                                                                                                  shed, attached,sei
                                                                                                                   zed,orIevied?
    CheckaIIthatappl
                   yand fillinthe detailsbel
                                           ow.

         K No. Go to line 11.
         E1 Yes.Fillintheinformati
                                 onbelow.
         Credi
             torNameand Address                       Describe the Property                                      Date                      Value ofthe
                                                                                                                                              property
                                                      Explainwhathappened
11. W ithin 90 daysbefore you filed forbankruptcy,did anycreditor,including a bank orfinancialinstitution,setoffany am ountsfrom your
    accounts orrefuse to make a paymentbecauseyou oweda debt?
         K No
         Q Yes.Fillinthedetail
                             s.
         Credi
             torName andAddress                       Describethe acti
                                                                     onthe credi
                                                                               tortook                           Date action was              Amount
                                                                                                                 taken
12. W ithin 1yearbefore youfiledforbankruptcy,wasany ofyourproperty in the possession ofan assigneeforthe benefitofcreditors,a
    court-appointed receiver,acustodi
                                    an,oranotherofficial?
         K No
         Q Yes

OfficialForm 107                               StatementofFinancialAffairs forlndividuals Filing forBankruptcy                                    X 9O 3
                                                                                                                                       BestCaseBankruptcy
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Debtor1 Afsaneh Doost


- -
              ListCertain Gi
                           ftsand Contributions

13. W i
      thin 2years beforeyoufil
                             ed forbankruptcy,did you gi
                                                       veany gifts with atotalvalue ofmorethan $600perperson?
    K No
    IZI Yes.Filli
                nthedetail
                         sforeachgift.
     Giftswithatotalvalueofmorethan$600         DescribethegiM                               Datesyougave                                      Value
         perperson                                                                                                the gifts
         Person toW hom You Gave the Giftand
         Address:
14. W ithin2yearsbeforeyoufiledforbankruptcy,didyougi
                                                    veanygiftsorcontributionswithatotalvalueofmorethan$600toanycharity?
    K so
    I
    ZI Yes.Fillinthedetail
                         sforeachgi
                                  ftorcontribution.
         Gi
          fts orcontributionsto charities that total          Describewhatyou contributed                         Datesyou                     Value
         morethan$600                                                                                             contributed
         Chari
             ty's Name
         Address (Number,Street,ci
                                 ty,stateandZIPCode)
 *
     -   .    ListCertain Losses

15. Within1yearbeforeyoufil
                          edforbankruptcyorsinceyoufil
                                                     edforbankruptcy,did#ouloseanythingbecauseoftheft,fire,otherdisaster,
         orgambllng?

         K No
         (
         Zl Yes Filinthedetails
         Describe the propertyyou Iostand            Describeanyinsurance coverage forthe Ioss                    Date ofyour      Value ofproperty
         how the loss occurred                       Includethe am ountthatinsurance has paid, Li
                                                                                                stpending         Ioss                         Iost
                                                     i
                                                     nsurance claim son Iine 33 ofSchedule4/8. 'Propert
                                                                                                      y.
 -
     .        ListCertain PaymentsorTransfers

16. W ithin 1yearbeforeyoufiled forbankruptcy,did you oranyoneelseacting on yourbehalfpay ortransferany property to anyoneyou
    consulted aboutseeking bankruptcy orpreparing a bankruptcy petition?
    Includeanyattorneys,bankruptcy peti
                                      ti
                                       onpreparers,orcredi
                                                         tcounseling agenci
                                                                          esforservicesrequired inyourbankruptcy.

         K No
         IZI Yes Filinthedetails
         Person Who W as Paid                                 Description and value ofany property                Date payment            Amountof
         Address                                              transferred                                         ortransferwas            payment
         Emailorwebsi teaddress                                                                                   made
         Person Who M adethe Payment,ifNotYou
17. W ithin 1yearbeforeyoufiled forbankruptcy,did youoranyone elseacting on yourbehalfpay ortransferany propedy to anyonew ho
    promi sed to help you dealwi
                               th yourcredi
                                          tors orto make paymenl to yourcreditors?
    Do notincludeany paymentortransferthatyouIi
                                              sted onIine 16.
         K No
         I
         ZI Yes.Fillinthedetail
                              s.
         Personw ho W as Pai
                           d                                  Descriptionandvalueofanypropeo                      Date paym ent           Amountof
         Address                                              transferred                                         ortransferw as           Payment
                                                                                                                  made
18. W ithin 2 years before you filedforbankruptcy!didyou sell,trade,orotherwise transferany propertyto anyone,otherthan property
    transferred in the ordinary courseofyourbuslness orfinancialaffairs?
         Includebothoutrighttransfersandtransfersmadeassecuri
                                                            ty(suchasthegrantingofasecuri
                                                                                        tyi
                                                                                          nterestormortgageonyourpropedy).Donot
         include gi
                  ftsandtransfersthatyou have already I
                                                      isted onthisstatem ent.
         K No
         (ZI Yes Fillinthedetai
                              ls
         Person W ho Received Transfer                        Description and value of              Describe any propertyor        Date transferwas
         Address                                              propertytransferred                   payments received ordebts      made
                                                                                                    paid in exchange
         Person's relationshipto you

OfficialForm 107                                 StatementofFinancialAffairsforIndividuals Filing forBankruptcy                                  P390 4
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Debtor1 Afsaneh Doost


19. W ithin 10 years before you filed forbankruptcy,did you transferany propertyto aself-settled trustorsimilardevice ofwhich youare a
         beneficiary?(Theseareoqencalledasset-protectiondevices.j
         K No
         I
         ZI Yes.Fillinthedetail
                              s.
         Nameoftrust                                          Description and value ofthe property transferred               DateTransferwas
                                                                                                                             m ade
 *.
         :      ListofCertain FinancialAccounts,Instruments,Safe DepositBoxes,and Storage Units
2O. W ithin 1yearbeforeyoufil
                            ed forbankruptcy,were anyfinancialaccounl orinstruments held in yourname,orforyourbenefi   t,closed,
    sold,moved,ortransferred?
    Include checking,savings,money market,orotherfinancialaccounts' ,certificates ofdeposi
                                                                                         t'
                                                                                          ,shares in banks,credi
                                                                                                               tuni
                                                                                                                  ons,brokerage
    houses,pension funds,cooperatives,associations,and otherfinancialinstitutions.
         K No
         Z Yes.Fillinthedetail
                             s.
         NameofFinancialInstitution and                  Last4 digil of            Typeofaccountor          Dateaccountwas        Lastbalance
         Address(Number,street,ci
                                ty,stateandzIp           accountnumber             instrum ent              closed,sold,      before closing or
         code)                                                                                              m oved,or                  transfer
                                                                                                            transferred
21. Do you now have,ordidyou have wi
                                   thin 1 yearbefore you filedforbankruptcy,anysafe depositbox orotherdepositoryforsecurities,
    cash,orothervaluabl
                      es?

         K No
         Q Yes.Fillinthedetail
                             s.
         Name ofFinanci  alInsti tution                       W ho else had access to it?       Describethe contenl           Do you still
         Address (Number,street,city,stateandzIpcode)         Address (Number,street,ci
                                                                                      w,                                      have i
                                                                                                                                   t?
                                                              stateandzIpcode)
22 Haveyou stored property in astorage unitorpl
                                              ace otherthan yourhome within1 yearbefore you filedforbankruptcy?

         * so
         D Yes.Fillinthedetails.
         Name ofStorage Facility                              W ho elsehas orhad access         Describethe contenl           Do youstill
         Address (Number,street,ci
                                 ty,stateandzIpcode)          to it?                                                          have i
                                                                                                                                   t?
                                                              Address lNumber,street,ci
                                                                                      ty,
                                                              stateandzIPcode)
 *
     .   *      Identify Propedy You Hold orControlforSomeone Else

23. Do you hold orcontrolany properly thatsomeone el
                                                   se owns? Includeany propertyyou borrowedfrom ,are storing for,orhold intrust
    forsomeone.

         K     No
         D Yes. Fillin thedetails.
         Ow ner's Name                                        Whereisthepropeo ?                Describethe property                      Value
         Address (Number,street,ci
                                 ty,stateandzIPGodel          (Number,Street,City,StateandZIP
                                                              Code)
 -
     -       I Give DetailsAboutEnvironmentalInform ation

Forthe purpose ofPart10,the following defini
                                           tions apply:
K        EnvironmentalIaw meansany federal,state,orIocalstatute orregulation concerning pollution,contamination,releases ofhazardous or
         toxicsubstances,wastes,ormateri    alinto the air,I
                                                           and,soil,sudacewater,groundwater,orothermedium,including statutes or
         regulations controllingthe cleanup ofthese substances,wastes,ormateri al.
K        SitemeansanyIocation,facility,orproperty as defined underany environmentalIaw,w hetheryou now own,operate,orutilize itorused
         to own,operate,orutilize it,including disposalsites.
K        Hazardousmaterialmeansanything anenvironmentalIaw definesasahazardouswaste, hazardous substance,toxicsubstance,
         hazardous material,pollutant,contam inant,orsimilarterm.
ReportaIInotices,releases,and proceedingsthatyou know about,regardlessofwhen theyoccurred.



OfficialForm 107                                 StatementofFinancialAffairsforIndividuals Filing forBankruptcy                            Ra9O 5
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 Debtor1 Afsaneh Doost


24. Has any governmentaluni
                          tnotifiedyouthatyou may beliable orpotentially liable underorin violation ofan environmentalIaw?
      * No
      D Yes.Fillinthedetails.
      Name ofsite                                             Governmentalunit                      EnvironmentalIaw,ifyou       Date ofnotice
      Address (Number,street.city,stateandzl
                                           pcode)             Address(Number,street,ci
                                                                                     ty,stateand    know it
                                                              zlpcode)
25. Have you noti
                fied any governmentalunitofany release ofhazardous materi
                                                                        al?

      K No
      Q Yes.Fillinthedetails.
      Name ofsite                                             Governmentalunit                      EnvironmentalIaw,ifyou       Date ofnotice
      Address (Number,street,ci
                              ty,stateandzlpcode)             Address(Number.Street,ci
                                                                                     ty,Stateartd   know it
                                                              zIPcode)
26. Haveyou beenapartyinanyjudicialoradministrativeproceedingunderanyenvironmentalIaw?Includesettlementsandorders.
      K No
      Q Yes.Fillinthedetails.
      Case Title                                              Courtoragency                      Natureofthecase                 Status ofthe
      case Number                                             Name                                                               case
                                                              Address(Number,Street,City,
                                                              StateandZIPCode)
 *.
            Give DetailsAboutYourBusiness orConnectionsto Any Business

27. W i
      thin4 years beforeyoufil
                             ed forbankruptcy,did youowna business orhaveanyofthefollowing connections toany business?
          D A soleproprietororself-employedinatrade,professi on,orotheracti  vity,eitherfull-timeorpart-time
          IZIA memberofa I imitedIiabilitycompany(LLC)orIimitedIiabilitypartnership(LLP)
          E1A partnerinapartnership
          U Anofficer,director,ormanagingexecuti veofacorporation
          IZIAnownerofatIeast5% ofthevotingorequi   tysecuritiesofacorporation
      K No. None ofthe above applies. Go to Part12.
      IZI Yes.checkaIIthatapplyaboveandfillinthedetailsbelow foreachbusiness.
      BusinessName                                       Describe the nature ofthe business         EmployerIdentification number
      Address                                                                                       Do notinclude SocialSecurity numberorITIN.
      (Number,Street,City,StateandZIPCode)                Nameofaccountantorbookkeeper
                                                                                                    Dates businessexisted
28. W ithin 2 years before you filed for bankruptcy,did you give a financialstatem entto anyone aboutyourbusiness? Include al1financial
      institutions,creditors,orotherparties.

      K No
      Q Yes.Fillinthedetail
                          s below.
      Nam e                                              Date lssued
      Address
      (Number,Street,City,StateandZlPCodej




OfficialForm 107                                 StatementofFinancialAffairsforlndividualsFilingforBankruptcy                                ;1aoo 6
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 Debtor1 Afsaneh Doost

 p-
            Sign Below

IhavereadtheanswersonthisStatementofFinancialAffairsandanyattachments,andIdeclareunderpenaltyofperjurythattheanswers
aretrueand correct.Iunderstandthatmakingafal
                                           sestatement,concealingpropeo ,orobtainingmoneyorpropertybyfraud inconnection
withabankru          canresultinfinesupto$250,000,orimprisonmentforupto20years,orboth.
18 U.S.       152,1341,1 19,and 3571.
                    c
 Afsane Do                                                      Signature ofDebtor2
 Signature ofDebtor1

 Date January 28,2020                                           Date
Didyouattachadditionalpagesto YourStatementofFinancialA'airsforlndividualsFiling forBankruptcy(OfficialForm 107)7
K No
D Yes
Did you pay oragreeto pay someone who is notan attorney to help you filloutbankruptcyforms?
D No
K Yes NamecfPerscn            Afsaneh Doost          AttachtheBankruptcyPetitlonPreparer'
                                                                                        sNotice, Declarati
                                                                                                         on,andSignature(Offi
                                                                                                                            cialForm 119)




OfficialForm 107                                 StatementofFinancialAffairs forlndividuals Filing forBankruptcy                        X 0e 7
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                     @   . #   # :*      .        e

 Debtor1                  Afsaneh Doost
                          FlrstName                   MiddleName              LastName
 Debtor2
 (Spouseif.flling)
 Uni
   ted StatesBankruptcyCourtforthe: CENTRALDISTRICT OF CALIFORNIA
Case num ber
(ifknown)                                                                                                       I
                                                                                                                ZI Checkifthisisan
                                                                                                                   amended fili
                                                                                                                              ng


O fficialForm 108
Statem ent oflntention forlndividuals Filing U nder C hapter7                                                                      lwls
I
fyouare an individualfiling underchapter7,you mustfilloutthisform if:
K creditors have claimssecured by yourproperty, or
K youhave Ieased personalpropertyand the Iease has notexpired.
You m ustfile thisform withthe courtw ithin 30 daysafteryou file yourbankruptcy petition orbythe datesetforthe m eeting ofcredi
                                                                                                                              tors,
         w hicheveris earlier,unlessthecourtextends the tim e forcause.You m ustal  so send copi
                                                                                               esto thecreditorsand Iessors you Iist
         onthe form

I
ftwomarriedpeoplearefilingtogetherinajointcase,bothareequallyresponsibleforsupplyingcorrectinformation.Bothdebtorsmust
            signand datetheform .
Be as completeand accurate as possible.lfmore space is needed,attach aseparatesheetto thisform.Onthe top ofany additionalpages,
            writeyournameandcasenumber(ifknown).
 *.
             ListYourCreditors W ho HaveSecured Claim s

1.Foranycredi
            torsthatyouIistedinPart1ofScheduleD:Credi
                                                    torsWho HaveCl
                                                                 aimsSecuredbyProperty(OfficialForm 106D),fillinthe
  information below .
   Identifythecreditofandthepropertythatiscollateral               Whatdoyouintendtodowiththepropeo that       Didyoucl
                                                                                                                      aim theproperty
                                                                   s@cures a debt?                         .   as qxpmpton ScheduleC?


   Creditor's Bank OfAm erica                                      IZISurrendertheproperty.                    C1No
   name:                                                           IZIRetainthepropedyandredeem i    t.
                                                                   K Retai n the propedy and enteri
                                                                                                  nto a        K Yes
   Descriptionof 4567 W hite Oak PLC Encino,CA                        ReaffirmationAgreement.
   propedy       91316 Los Angeles County                          D RetainthepropertyandEexpl
                                                                                             ain):
   securi
        ngdebt:
 -.
             ListYourUnexpired PersonalPro e              Leases
Foranj unexpiredpersonalpropertyI
                                easethatyouIistedinScheduleG:ExecutoryGontrace andUnexpired Leases(OfficialForm 106G),fill
in the Information below.Do notIistrealestate Ieases.Unexpired Ieases are Ieases thatare stillin effect;the l
                                                                                                            ease period has notyetended.
YoumayassumeanunexpiredpersonalpropedyIeaseifthetrusteedoesnotassumeit.11U.S.C.ï365(p)(2).
Describeyourunexpired personalproperty I
                                       eases                                                               W illthe I
                                                                                                                    ease beassumed?

Lessor'sname:                                                                                              I
                                                                                                           ZINo
Descripti
        on ofIeased
Propert
      y:                                                                                                   I
                                                                                                           D yes

Lessor'sname:                                                                                              L No
Description ofleased
Property:                                                                                                  Q Yes
Lessor'snam e:                                                                                             L No
Offici
     alForm 1O8                                  StatementofIntentionforIndi
                                                                           vidual
                                                                                s Filing UnderChapter7                               1
                                                                                                                                     7300 1
SoftwareCopyrlght(c)1996-2019BestCase LLC -www.bestcase.com                                                               BestCaseBankruptcy
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Debtor1 Afsaneh Doost

Descripti
        onofleased
Property:                                                                                      I
                                                                                               ZIYes
Lessor's name:                                                                                 Q No
Descripti
        onofI
            eased
Propedy:                                                                                       (:1Yes
Lessor'sname:                                                                                  Q No
Descripti
        onofI
            eased
Propedy:                                                                                       (
                                                                                               ZIYes
Lessor'sname:                                                                                  E:1No
Descripti
        onofleased
Propedy:                                                                                       Q Yes
Lessor'sname:                                                                                 (ZlNo
DescriptionofIeased
Property:                                                                                     D Yes
*-
         Sign Below

Underpenal
         ty of    '        e thatIhave indicated my intention aboutany propedy ofmyestatethatsecuresa debtand any personal
propertyt     subjecttoanunex 'redIease.
X                     -J                                    X
     Afsane oo                                                  Signature ofDebtor2
     Si
      gnatureofDebtor1

     Date    January 28,2020                                Date




OfhcialForm 108                    StatementofIntentionforlndi
                                                             vidualsFiling UnderChapter7                                 P39e 2
                                                                                                               BestCaseBankruptcy
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                                            UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA


          Afsaneh Doost




                                                                                       VERIFICATIO N O F M ASTER
                                                                                      MA ILING LIST O F CREDITO RS
                                                                                                  ILBR 1007-1(a)1


Pursuantto LBR 1007-1(a),the Debtor,orthe Debtor'sattorney i
                                                           fapplicable,cedifiesunderpenaltyofperju!'
                                                                                                   ythatthe
mastermailing listofcreditors filed in this bankruptcy case,consisting of 3 sheetls)is complete,correct,and
consistentwith the Debtor'sschedulesand I/we assume alIrespo ' ''                                      om issions.

Date: January 28,2020                                                                                '
                                                                                                     N-
                                                                            Signature            tor1


                                                                            SignatureofDebtor2 (ointdebtor))(ifapplicabie)
Date: January 28,2020
                                                                            SignatureofAttorneyforDebtor(ifapplicable)




                Thisform isoptional.IthasbeenapprovedforuseintheUnitedStatesBankruptcyCourtfortheCentralDistrictofCalifornia.
oecemberzols                                                                        F IOO7-I.MA ILING .LIST.VERIFICATION
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                    Afsaneh Doost
                    4567 White Oak Place
                    Encino , CA 91316


                    A FN I
                    404 Brock Dr .
                    Bloomington ,


                    AWA Collections
                    P.O . Box 5545
                    Lake Forest , CA 92630


                    Bank Of America
                    1800 Tapo Canyon Rd.
                    Simi Valley, CA 9306)

                    Behrouz Lalezarzadeh
                    419 Clark St.
                    CA 91211


                    CHASE
                    P.O . Box 94014
                    Palatine, TL 60094


                    credence
                    17000 dallas pkwy
                    Dallas, TX 75248
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                    Equitable Accent Financial, LLC
                    5030 Camiono De La Siesta #340
                    San Diego, CA 92108


                    Haleh mansouri
                    624 S . Grand Ave w 32200
                    Los Angeles, CA 90017


                    Jelani Doost
                    4567 White Oak P1c
                    Encino, CA 91316


                    LCO Pool & Spa
                    P.O . Box 7115
                    Van Nuys, CA 91409


                    Linden Trust
                    7215 Canby Ave .
                    Reseda , CA 91335


                    Michael S. Hunt
                    151 Bernal Road #8
                    San Jose, CA 95119


                    Mohammad Hassani
                    301E . Carolina St . #201
                    Marion, OH 43301


                    Nordstrom/ Faicollect
                    P .O . Box 7148
                    Be llevue , WA 9800 8
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                    Sears Gold Master Card
                    726 Echange Street #700
                    Buffalo, NY 14210


                    T Mobile
                    P . 0 . Box 51843
                    Los Angeles, CA 90051
